     Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 1 of 96 PageID #:3112




                         AIN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

James Gibson,                                          )
                                                       )    Case No. 2019 CV 4152
                                      Plaintiff,       )
                                                       )    Honorable Judge Ellis
v.                                                     )
                                                       )    Magistrate Judge Weisman
City of Chicago, et al.,                               )
                                      Defendants.      )    Jury Trial Demanded


           Defendant Byrne’s Answer, Affirmative Defenses, and Jury Demand to
                          Plaintiff’s First Amended Complaint

         Defendant John Byrne, through his attorneys Hale & Monico, submits his Answer,

Affirmative Defenses, and Jury Demand to Plaintiff James Gibson’s First Amended Complaint. In

so answering, Defendant Byrne states:

                              Allegations Common To All Counts
                                         Introduction
1.       On December 22, 1989, Lloyd Benjamin and Hunter Wash were murdered by Fernando

Webb, a heroin addict with a history of weapons offenses, armed robberies, attempted murder, and

other violent crimes.

Answer:         Defendant Byrne admits, upon information and belief based on police reports, that

on December 22, 1989, Lloyd Benjamin and Hunter Wash were murdered but denies that the

murder was committed by Fernando Webb.

2.       On December 27, 1989, Defendant Chicago Police Officers working under the command

of Jon Burge at Area 3 Violent Crimes, arrested Plaintiff James Gibson (hereinafter “Gibson”)

without probable and took him Area 3 Violent Crimes against his will regarding the murders of

Benjamin and Wash. In the process of “interrogating” Gibson at Area 3 several of the Defendant


                                                   1
     Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 2 of 96 PageID #:3113




Officers tortured Mr. Gibson beyond the limit of his capacity for pain and fear, after which Mr.

Gibson made a statement that was considered of such “extreme importance” by the judge who

convicted Mr. Gibson for the Benjamin/Wash murders that he would not have convicted him

without it.

ANSWER:         Defendant Byrne admits, upon information and belief based on police reports, that

on December 27, 1989, Plaintiff was transported by Chicago Police Officers to Area 3 and that the

commander, at that time, of Area 3 was Jon Burge. Defendant Byrne further admits, upon

information and belief based on police reports, that Plaintiff made several statements during his

interview on or about December 27, 1989. Defendant Byrne denies torturing Plaintiff and denies

any such conduct occurred in Defendant Byrne’s presence and, therefore, denies the remaining

allegations contained in this paragraph.

3.       The torture to which Mr. Gibson was subjected to by several of the Defendant Officers

included physical beatings, hitting, kicking, slapping, burning, sleep deprivation, threats, racial

slurs and insults.

ANSWER:         Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and denies such conduct occurred in his presence and, therefore, denies the

remaining allegations contained in this paragraph.

4.       It has since been well documented that Chicago Police Officers in Area 3 under the

command of Jon Burge were regularly engaged in this form of torture in the course of interrogating

suspects, especially young African-American suspects in order to “solve” crimes. Indeed the use

of torture by Chicago Police Officers under the command of Jon Burge to obtain false confessions,

statements and fake evidence, were the direct result of a situation which spun out of control

                                                2
     Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 3 of 96 PageID #:3114




because the City of Chicago’s policymakers chose to allow it to continue thereby making torture

a de facto policy of the City of Chicago and it’s Police Department.

ANSWER:         Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and denies such conduct occurred in his presence and, therefore, denies the

remaining allegations contained in this paragraph.

5.       After Mr. Gibson succumbed to the Defendant’s torture the resultant coerced statement

was the key evidence used to convict him unjustly and to sentence him to life in prison for a crime

he did not commit.

ANSWER:         Defendant Byrne admits, upon information and belief based on police reports and

the public record, that Plaintiff was convicted of the murders of Lloyd Benjamin and Hunter Wash

but denies that Plaintiff did not commit the criminal act. Defendant Byrne denies the allegations

in this paragraph directed at Defendant Byrne, denies all wrongdoing as it relates to his conduct

during the Benjamin/Wash homicide investigation, and denies such conduct occurred in his

presence and, therefore, denies the remaining allegations contained in this paragraph.

6.       After many appeals and post-conviction petitions by Mr. Gibson, all of which were denied

because of the continued policy of the City of Chicago to refuse to acknowledge or admit that

many convictions were obtained by through the use of confessions and statements obtained by the

use of torture by Jon Burge and his “Midnight Crew” of Chicago Police Officers, the State of

Illinois enacted the Torture Inquiry and Relief Commission (“hereinafter “TIRC”). After

investigating Mr. Gibson’s claim of torture, the TIRC issued a Case Disposition which found that

he had been tortured into making a statement which resulted in his conviction and imprisonment.




                                                3
     Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 4 of 96 PageID #:3115




ANSWER:         Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and denies such conduct occurred in his presence and, therefore, denies the

remaining allegations contained in this paragraph.

7.       An evidentiary hearing was held in the Circuit Court of Cook County on the TIRC Case

Disposition at which several of the Defendant Chicago Police Officers testified falsely and denied

that there had been any torture or coercion involved in obtaining the statements used to convict

Mr. Gibson or his co-defendant Keith Johnson a/k/a Eric Smith, and that there had never been any

torture used by Chicago Police Officers under the command of Jon Burge at Area 3 or Area 2

Violent Crimes. These Defendant Chicago Police Officers testified in this manner in a conspiracy

to conceal the fact that the City of Chicago had a de facto policy of allowing the use torture to

obtain false confessions and statements from suspects and witnesses by Jon Burge and those under

his command. These Defendant Chicago Police Officers engaged in this conspiracy to conceal the

aforesaid de facto policy of the City of Chicago because of a de facto policy of the City of Chicago

of protecting officers who perjure themselves in order to conceal the torture of suspects and

witnesses from prosecution.

ANSWER:         Defendant Byrne admits that there was an evidentiary hearing held in the Circuit

Court of Cook County and that several Chicago Police Officers testified. Defendant Byrne denies

the remaining allegations in this paragraph directed at Defendant Byrne, denies all wrongdoing as

it relates to his conduct during the Benjamin/Wash homicide investigation, and denies such

conduct occurred in his presence and, therefore, denies the remaining allegations contained in this

paragraph.

8.       After the evidentiary hearing on the TIRC Case Disposition Mr. Gibson was denied relief

                                                 4
     Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 5 of 96 PageID #:3116




by the Circuit Court of Cook County. Mr. Gibson appealed, and the denial of relief was reversed

and remanded by the Appellate Court in People v. James Gibson 2018 IL App (1st) 162177.

On remand from this first appeal the Circuit Court again denied Mr. Gibson any relief. Mr. Gibson

again appealed, and the Appellate Court again reversed the Circuit Court in People v. James

Gibson 2019 IL App (1st) 182040-U. In this second appellate court Order the Court of Appeal’s

remanded the case with instructions that Mr. Gibson’s conviction be vacated, that he be given a

new trial and that his statement be barred from introduction into evidence at the retrial because it

was the product of torture by several of the Defendant Chicago Police Officers. The Appellate

Court also ordered that the case be assigned to a different Circuit Court judge other than the judge

who twice denied Mr. Gibson relief.

ANSWER:         Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and denies such conduct occurred in his presence and, therefore, denies the

remaining allegations contained in this paragraph.

9.       On April 4, 2019, the Circuit Court of Cook County vacated Mr. Gibson’s conviction. Then

on April 26, 2019, the Circuit Court of Cook County dismissed all charges against Mr. Gibson

arising out of the December 22, 1989, murders of Lloyd Benjamin and Hunter Wash.

ANSWER:         Defendant Byrne admits, upon information and belief, the allegations contained in

this paragraph but denies all wrongdoing as it relates to his conduct during the Benjamin/Wash

homicide investigation.

10.      James Gibson spent twenty-nine (29) years and four (4) months in prison for a crime he did

not commit as a direct result of the torture inflicted on him by several of the Defendant Chicago

Police Officers working under the command of Jon Burge.

                                                 5
  Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 6 of 96 PageID #:3117




ANSWER:          Defendant Byrne admits, upon information and belief, that Plaintiff spent time in

prison after being convicted of murdering Lloyd Benjamin and Hunter Wash. Defendant Byrne

denies the allegations in this paragraph directed at Defendant Byrne, denies all wrongdoing as it

relates to his conduct during the Benjamin/Wash homicide investigation, and denies such conduct

occurred in his presence and, therefore, denies the remaining allegations contained in this

paragraph.

                                         Jurisdiction and Venue

11.     This Court has jurisdiction of this action under 28 U.S.C. § 1983 in that Defendant’s conduct

violated rights guaranteed to Plaintiff under the United States Constitution. This Court has

supplemental jurisdiction over Plaintiff’s state law claims under 28 U.S.C. § 1367(a).

ANSWER:          Defendant Byrne admits that this Court has jurisdiction as Plaintiff brings claims

pursuant to 42 U.S.C. § 1983 and supplemental jurisdiction over Plaintiff’s state law claims under

28 U.S.C. § 1367. Defendant Byrne denies that his conduct violated any of Plaintiff’s rights under

federal or state law.

12.     Venue is proper under 28 U.S.C. § 1331 and 28 U.S.C. § 1367. The events giving rise to

the claims asserted here all occurred within the Northern District of Illinois, Eastern Division, and

all of the parties reside in this district.

ANSWER:          Defendant Byrne admits that venue is proper in the Northern District of Illinois,

Eastern Division but denies that all parties reside in this district.

                                              The Parties

13.     Plaintiff James Gibson is Fifty-Two (52) years old, African American male, and is a

resident of the State of Illinois. He has spent the last twenty-nine (29) years and four (4) months in

prison for a crime he did not commit.

                                                   6
  Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 7 of 96 PageID #:3118




ANSWER:           Defendant Byrne admits, upon information and belief, that Plaintiff is fifty-two

years old, is a resident of Illinois, and spent time in prison after being convicted of murdering

Lloyd Benjamin and Hunter Wash but denies that Plaintiff did not commit the crime. Upon

information and belief, Defendant Byrne denies the remaining allegations contained in this

paragraph.

14.    Defendant City of Chicago is a municipal entity which employed Chicago Police Officers

Anthony Maslanka, William Moser, John E. Byrne, Louis Caesar, John Paladino, Henry J. Leja,

Jerome Rusnak, Victor Breska, John McCann, Phillip Collins, John O’Mara, all of who worked in

the Chicago Police Department’s “Area 3” under Commander Jon Burge.

ANSWER:           Defendant Byrne admits, upon information the belief, the allegations contained in

this paragraph.

15.    Anthony Maslanka, William Moser, John E. Byrne, Louis Caesar, John Paladino, Henry J.

Leja, Jerome Rusnak, Victor Breska, John McCann, Phillip Collins, John O’Mara, and John Burge

were all Chicago Police Officers of who worked in the Chicago Police Department’s “Area 3”

where Jon Burge was their commanding officer.

ANSWER:           Defendant Byrne admits, upon information the belief, the allegations contained in

this paragraph.

16.    All of the forgoing individuals are sued in their individual capacities, and all acted under

color of state law, and within the scope of their employment in engaging in the actions alleged in

this Complaint.

ANSWER:           Defendant Byrne admits that, during the relevant time, he acted within the scope of

his employment with the City of Chicago and admits that Plaintiff has brought claims against



                                                   7
  Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 8 of 96 PageID #:3119




Defendant Byrne in his individual capacity. Defendant Byrne denies committing the misconduct

as alleged by Plaintiff in this Complaint.

                              The Murders of Benjamin and Wash

17.    On December 22, 1989, at approximately 10:48 a.m. Lloyd Benjamin and Hunter Wash,

were in a garage at 1118 W. 58th Street, Chicago, Illinois, out of which Mr. Wash operated his

automobile repair shop. Curtis Garmon, Odell Garmon, Leon Coley and James Horton were also

in the garage at that time.

ANSWER:        Defendant Byrne admits, upon information and belief based on police reports, the

allegations contained in this paragraph.


18.    Lloyd Benjamin was known in the neighborhood around 1118 W. 58th Street as the

“Insurance Man”, because he sold insurance and collected the premiums. On December 22, 1989

he was in the area around 1118 W. 58th Street, collecting insurance premiums. Mr. Hunter Wash

was known in the neighborhood around 1118 W. 58th Street as “Smiley”.

ANSWER:        Defendant Byrne admits, upon information and belief based on police reports, the

allegations contained in this paragraph.

19.    At approximately 10:48 a.m., after being in the garage for five (5) minutes, Lloyd Benjamin

exited the garage alone, where he was confronted by Fernando Webb, (hereinafter “Webb”), who

was armed with a handgun and intent on robbing Mr. Benjamin. Webb shot Mr. Benjamin two (2)

times in the head killing him.

ANSWER:        Defendant Byrne admits, upon information and belief based on police reports, that

Benjamin exited the garage alone at approximately 10:48 a.m. after spending approximately five

minutes in the garage. Defendant Byrne denies, upon information and belief, that Benjamin was


                                                8
  Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 9 of 96 PageID #:3120




shot twice in the head by Fernando Webb, fatally wounding him. Defendant Byrne denies the

remaining allegations in this paragraph directed at Defendant Byrne, denies all wrongdoing as it

relates to his conduct during the Benjamin/Wash homicide investigation, and denies such conduct

occurred in his presence and, therefore, denies the remaining allegations contained in this

paragraph.

20.    Immediately after hearing the gunshots that killed Mr. Benjamin, Mr. Wash exited the

garage alone where he was confronted by Webb, who shot Mr. Wash one (1) time in the head

killing him.

ANSWER:        Defendant Byrne admits, upon information and belief based on police reports, that

Wash exited the garage alone after gunshots were heard. Defendant Byrne admits, upon

information and belief based on police reports, that Wash was shot one time in the head, which

was a fatal wound. Defendant Byrne denies, upon information and belief based on police reports,

that Webb is the individual who shot Wash. Defendant Byrne denies the remaining allegations in

this paragraph directed at Defendant Byrne, denies all wrongdoing as it relates to his conduct

during the Benjamin/Wash homicide investigation, and denies such conduct occurred in his

presence and, therefore, denies the remaining allegations contained in this paragraph.

21.    After hearing the gunshot that killed Mr. Wash, Messrs. Curtis Garmon, Odell Garmon,

Leon Coley and James Horton stayed in the garage for up to five (5) minutes before exiting. When

they exited the garage they saw Mr. Benjamin and Mr. Wash lying on the ground fatally wounded.

Mr. Coley immediately ran to Mr. Wash’s house, which was nearby, to tell Mr. Wash’s son, Cortez

Wash to call the police. Mr. Cortez Wash called the police who arrived on the scene at

approximately 10:59 a.m.




                                                9
 Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 10 of 96 PageID #:3121




ANSWER:        Defendant Byrne admits, upon information and belief based on police reports, that

Curtis Garmon, Odell Garmon, Leon Coley, and James Horton remained in the garage for a short

period following the gunshots, that they exited the garage and observed Benjamin and Wash on

the ground and injured, that one of the witnesses ran to the Wash residence and informed Cortez

Wash of the shooting and to call 911, that Cortez Wash called 911, and that police officers arrived

to the scene shortly. Defendant Byrne denies the remaining allegations in this paragraph directed

at Defendant Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash

homicide investigation, and denies such conduct occurred in his presence and, therefore, denies

the remaining allegations contained in this paragraph.




                        The First Arrest and Torture of James Gibson

22.    There were no eye witnesses to the Benjamin/Wash murders, and no physical evidence

which could lead to the identification of any suspects. Officers of the Chicago Police Department,

including several of the Defendant Officers, canvased the area surrounding 1118 W. 58th Street,

Chicago, Illinois, to try to locate any witnesses to the murders without success.

ANSWER:        Defendant Byrne admits, upon information and belief based on police reports, that

no eyewitnesses were located, at that time, to the Benjamin/Wash murders. Defendant Byrne

denies the allegations in this paragraph directed at Defendant Byrne, denies all wrongdoing as it

relates to his conduct during the Benjamin/Wash homicide investigation, and denies such conduct

occurred in his presence and, therefore, denies the remaining allegations contained in this

paragraph.

23.    Benjamin and Wash were both well liked in the neighborhood, and their murders were a

major event and the subject of gossip, rumor and speculation. James Gibson who was also known

                                                 10
 Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 11 of 96 PageID #:3122




by the nickname “Peter Gunn”, heard a rumor that his name had been mentioned in this

neighborhood gossip, so on December 24, 1989 he called the local police station to state that he

was not involved in the murders. A “contact card” was filled out by the officer who took the call

which was put into the database of the Chicago Police Department.

ANSWER:        Defendant Byrne admits, upon information and belief based on police reports, that

Plaintiff called the Chicago Police Department on or about December 24, 1989 to deny his

involvement in the Benjamin/Wash murders and that a field contact card was created documenting

that call. Defendant Byrne denies the allegations in this paragraph directed at Defendant Byrne,

denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and denies such conduct occurred in his presence and, therefore, denies the

remaining allegations contained in this paragraph.

24.    Several of the Defendant Officers were assigned to investigate the murders of Benjamin

and Wash. As of December 27, 1989, there was no evidence, witnesses, or suspects in the

regarding the Benjamin/Wash murders and the investigation was at a dead end.

ANSWER:        Defendant Byrne admits that, at some point, he was assigned to assist in the

investigation regarding the Benjamin/Wash murders. Defendant Byrne denies the allegations in

this paragraph directed at Defendant Byrne, denies all wrongdoing as it relates to his conduct

during the Benjamin/Wash homicide investigation, and denies such conduct occurred in his

presence and, therefore, denies the remaining allegations contained in this paragraph.

25.    Therefore, On December 27, 1989, the Defendant Chicago Police Officers, pursuant to the

de facto policy of the City of Chicago Police Department allowing the arrest and interrogation of

persons without probable cause by detectives working under the command of Jon Burge at Area 3

Violent Crimes, decided to start arresting and interrogating persons based on neighborhood gossip

                                                11
 Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 12 of 96 PageID #:3123




in order to try to “solve” the Benjamin/Wash murders.

ANSWER:        Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and denies such conduct occurred in his presence and, therefore, denies the

remaining allegations contained in this paragraph.

26.    Because Gibson’s name had been mentioned in the neighborhood gossip and rumors,

Defendant Officers O’Mara and Collins, who were working under the command of Jon Burge at

Area 3 Violent Crimes, concocted a false “anonymous tip” in order to justify the arrest and

interrogate James Gibson. This false “tip” stated that James Gibson was responsible for the

Wash/Benjamin murders. However, on December 27, 1989 when O’Mara and Collins went to

arrest James Gibson he was not at home, so they instead arrested Harold Gibson, who was James

Gibson’s brother, without probable cause and took him to Area 3 for interrogation regarding the

Benjamin/Wash murders.

ANSWER:        Defendant Byrne admits, upon information and belief based on police reports, that

an anonymous source informed Chicago Police Officers that Plaintiff may have been involved in

the Benjamin/Wash murders and that Harold Gibson was transported to Area 3 and questioned

concerning the murders. Defendant Byrne denies the allegations in this paragraph directed at

Defendant Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash

homicide investigation, and denies such conduct occurred in his presence and, therefore, denies

the remaining allegations contained in this paragraph.

27.    After arresting Harold Gibson, Defendant Officers O’Mara and Collins created a false

police report, which added, after the fact, that the non-existent person who gave them the fake

“anonymous tip” also told them that Harold Gibson assisted James Gibson in the commission of


                                               12
 Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 13 of 96 PageID #:3124




the Benjamin/Wash murders.

ANSWER:        Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and denies such conduct occurred in his presence and, therefore, denies the

remaining allegations contained in this paragraph.

28.    After Harold Gibson’s arrest without probable cause, based on a false non-existent

“anonymous tip”, Mr. Gibson contacted O’Mara and Collins at Area 3 of the Chicago Police

Department to inquire why his brother was being held. When the Gibson revealed to the Defendant

Officer that he was calling from his home, Defendant Officers Rusnak, Breska, Maslanka,

Paladino, Ptak, McCann, Caesar, and Byrne appeared at Gibson’s home while he was still on the

phone and arrested him without probable cause to do so and transported him to Area 3 Violent

Crimes for interrogation.

ANSWER:        Defendant Byrne admits, upon information and belief based on police reports, that

Plaintiff was transported to Area 3 for questioning relating to the Benjamin/Wash murders on or

about December 27, 1989. Defendant Byrne denies the allegations in this paragraph directed at

Defendant Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash

homicide investigation, and denies such conduct occurred in his presence and, therefore, denies

the remaining allegations contained in this paragraph.

29.    Upon James Gibson’s arrival at Area 3 Homicide, O’Mara and Collins reported that they

were able to quickly determine that despite what the anonymous caller had told them, Harold

Gibson could account for his activities at the time of the murders, and he was released. However,

this was false, and in fact Harold Gibson had been a hostage who the Defendant Officers O’Mara,

Collins Rusnak, Breska, Maslanka, Paladino, Ptak, McCann, Caesar, and Byrne were holding in

                                               13
 Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 14 of 96 PageID #:3125




order to find James Gibson.

ANSWER:         Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and denies such conduct occurred in his presence and, therefore, denies the

remaining allegations contained in this paragraph.

30.      James Gibson was held at Area 3 overnight and on the next day, December 28, 1989. While

he was held overnight he was handcuffed to a chair and was not able to sleep. Also Gibson was

not given any food or drink, nor was he allowed to use the washroom.

ANSWER:         Defendant Byrne admits, upon information and belief based on police reports,

Plaintiff remained at Area 3 overnight to December 28, 1989. Defendant Byrne denies the

allegations in this paragraph directed at Defendant Byrne, denies all wrongdoing as it relates to his

conduct during the Benjamin/Wash homicide investigation, and denies such conduct occurred in

his presence and, therefore, denies the remaining allegations contained in this paragraph.

31.      Gibson was then put into three (3) lineups by Officers O’Mara, Collins, Maslanka, Paladino

and McCann. Gibson was not identified at any of these lineups. Therefore the Defendant Officers

Anthony Maslanka, William Moser, John E. Byrne, Louis Caesar, John Paladino, Henry J. Leja,

Jerome Rusnak, Victor Breska, John McCann, John M. McCarthy, Phillip Collins, John O’Mara,

decided that, pursuant to the de facto policy of the City of Chicago Police Department, they would

torture Gibson into making a confession or statement which they could use to convict him for the

Benjamin/Wash murders even though there was absolutely no evidence that he had committed that

crime.

ANSWER:         Defendant Byrne denies torturing Plaintiff and denies making any agreement or

decision with anyone else to torture Plaintiff. Defendant Byrne denies the remaining allegations in

                                                 14
 Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 15 of 96 PageID #:3126




this paragraph directed at Defendant Byrne, denies all wrongdoing as it relates to his conduct

during the Benjamin/Wash homicide investigation, and denies such conduct occurred in his

presence and, therefore, denies the remaining allegations contained in this paragraph.

32.    After the lineups, Gibson was placed into another room while handcuffed. He was not fed

or able to lay down and eventually had to urinate on the floor. At some point, O’Mara and Collins

entered the room and began asking him questions about his brother. Those Officers left defendant

in the room alone for a few hours and returned with Maslanka, Paladino and Ptak. Suddenly,

Paladino approached Gibson and told him, “we through playing with your ass, nigga”, then slapped

him on the head. After continuing to question defendant, Maslanka then kicked defendant in the

left side of his chest near his ribs as defendant sat handcuffed to the chair. After being kicked,

defendant was slapped again by Paladino and repeatedly told Gibson that he and his brother

committed the murders after defendant denied any involvement. Then, Maslanka punched

defendant in the right side of his ribs. Maslanka then told him, “[y]ou’re going to tell us something

different than that. We are going to kick your ass all night”. O’Mara and Collins then began to

punch defendant about the body. Collins then kicked defendant in the groins.

ANSWER:        Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and denies such conduct occurred in his presence and, therefore, denies the

remaining allegations contained in this paragraph.

33.    Gibson was then placed in an interrogation room and held Gibson held overnight again

handcuffed to a chair. He was not able to sleep, and he was not given any food or drink, nor was

he allowed to use the washroom.




                                                 15
 Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 16 of 96 PageID #:3127




ANSWER:        Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and denies such conduct occurred in his presence and, therefore, denies the

remaining allegations contained in this paragraph.

34.    Next, early on December 29, 1998, Gibson was interviewed by Rusnak and Breska. Gibson

again denied any involvement in the murders of Benjamin and Walsh. At this point Rusnak and

Breska asked Gibson if he would take a polygraph examination, stating that if he did it would “clear

all of this up and stop all this ass whooping”. Gibson agreed to take the polygraph.

ANSWER:        Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and denies such conduct occurred in his presence and, therefore, denies the

remaining allegations contained in this paragraph.

35.    Before Breska and Rusnak took Gibson for the polygraph examination Rusnak and Breska

left the interrogation room and Collins and O’Mara came into the room. They told Gibson to stop

denying his involvement in the murders, and that they were “done playing with you”. At that point

Collins and O’Mara starting punching Gibson again. As this was going on Paladino and Malasanka

entered the interrogation room, along with Louis Caesar, Jack McCann, and John Byrne. Byrne

then pulled out his gun and asked if it was the gun that Gibson had used in the murders. Gibson

continued to deny any involvement in the murders. Detective Malasanka told Gibson that they

were going to have the gun in a minute and he left the room, perhaps with another detective.

ANSWER:        Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide




                                                16
 Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 17 of 96 PageID #:3128




investigation, and denies such conduct occurred in his presence and, therefore, denies the

remaining allegations contained in this paragraph.

36.    The next thing that happened was that the Officers came back into the room with a silver

colored iron. Malasanka then told Gibson that he had a tattoo on his arm with the name “Peter

Gun” on it. They then showed Gibson pictures that they had of him, and Gibson stated that Peter

Gun was his nick name and that he had a Peter Gun tattoo, along with some other tattoos. Then

Detective Malasanka burned Gibson’s “Peter Gun” tattoo off of his right arm with the iron. This

burning off of the tattoo left Gibson with a triangular scar on his right arm, After that all of the

Officers left the interrogation room. Gibson was then taken for the polygraph examination by

Detectives Rusnak and Breska.

ANSWER:        Defendant Byrne admits, upon information and belief based on police reports, that

Plaintiff was transported to the polygraph examination by Detectives Rusnak and Breska.

Defendant Byrne denies the allegations in this paragraph directed at Defendant Byrne, denies all

wrongdoing as it relates to his conduct during the Benjamin/Wash homicide investigation, and

denies such conduct occurred in his presence and, therefore, denies the remaining allegations

contained in this paragraph.

37.    Then Gibson was then taken for a polygraph by Rusnak and Breska. During the

examination Gibson either touched or tore the paper the polygraph machine used, and he was

struck in the back of the head and physically restrained and taken back to Area 3.

ANSWER:        Defendant Byrne admits, upon information and belief based on police reports, that

Plaintiff was transported to the polygraph examination by Detectives Rusnak and Breska and that,

after being informed that the polygraph examination indicated deception, Plaintiff began tearing

the polygraph papers. Defendant Byrne denies the allegations in this paragraph directed at

                                                17
 Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 18 of 96 PageID #:3129




Defendant Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash

homicide investigation, and denies such conduct occurred in his presence and, therefore, denies

the remaining allegations contained in this paragraph.

38.    On the drive back from the polygraph examination Gibson knew he was going to be beaten

again. So in an attempt to stop the torture he told Rusnak and Breska that rumors in the

neighborhood were that “K.D. a/k/a “Bodine” was involved in the murder of Benjamin and Walsh.

According to Gibson, “KD” and “Bodine” are the same person, i.e. Fernando Webb. However,

Gibson did not know Eric Johnson a/k/a Keith Smith was also known as KD. Gibson knew Eric

Johnson as Keith Smith. However, Maslanka, Paladino, Collins and Ptak determined that Bodine

was Fernando Webb and they further determined that KD was Eric Johnson a/k/a Keith Smith.

The Defendant Officers then went out and picked up Fernando Webb and Eric Johnson.

ANSWER:        Defendant Byrne admits, upon information and belief based on police reports, that

Plaintiff made a statement implicating Eric Johnson (AKA Keith Johnson, AKA KD) and

Fernando Webb (AKA Bodine) in the Benjamin/Wash murders. Defendant Byrne admits, upon

information and belief based on police reports, that Johnson and Webb were eventually placed in

custody. Defendant Byrne denies the allegations in this paragraph directed at Defendant Byrne,

denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and denies such conduct occurred in his presence and, therefore, denies the

remaining allegations contained in this paragraph.

39.    Fernando Webb a/k/a “Bodine” was a heroin addict who lived in the neighborhood. Webb

had a history of armed robbery and weapons offenses who was charged with an armed robbery in

another case after he was not charged and released in the Benjamin/Wash murders. It was Webb

who testified against Gibson and his co-defendant Eric Johnson, and who was, in exchange for

                                               18
 Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 19 of 96 PageID #:3130




that testimony, was let out of jail on probation on his armed robbery, delivery of a controlled

substance and bail jumping charges.

ANSWER:        Defendant Byrne admits, upon information and belief based on police reports, that

Webb was addicted to narcotics and had a criminal history in December 1989. Defendant Byrne

admits, upon information and belief based on police reports, that Webb was not criminally charged

for the Benjamin/Wash murders. Defendant Byrne denies the allegations in this paragraph directed

at Defendant Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash

homicide investigation, and denies such conduct occurred in his presence and, therefore, denies

the remaining allegations contained in this paragraph.

40.    Then, after his return to Area 3 Gibson was being moved from one the one interrogation

room back to another room, the Defendant Officer who was moving him opened the door to an

interrogation room, and Gibson saw Eric Johnson, who he knew as Keith Smith. Gibson had known

Keith Smith since he was a small boy. The Defendant Officer asked Gibson if he knew the man he

had just seen, as Eric, Keith, KD or Bodine. Gibson replied that he knew the man, but knew him

as Keith Smith, not Eric Johnson.

ANSWER:        Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and denies such conduct occurred in his presence and, therefore, denies the

remaining allegations contained in this paragraph.

41.    Gibson was then placed into the interrogation room, which had a table and lockers, where

he was handcuffed to something. Then Officer Collins and O’Mara came into the room and started

to slap Gibson in the head again, while telling him to tell them “what’s up”. At that point Gibson

stated that he saw KD give Bodine a pistol. This was not the truth, and Gibson said it just to stop

                                                19
 Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 20 of 96 PageID #:3131




the beatings he was being subjected to. After Gibson had told Collins and O’Mara that he had seen

KD give Bodine a gun, Officers Caesar, McCann, and Officer William Moser came into the

interrogation room and they spoke among themselves. They then fed Gibson an untrue story to tell

back to them. This story was that he saw Eric Johnson give Bodine a pistol, and that he saw Bodine

shoot the “white guy”. (Lloyd Benjamin was white) This story put Gibson near the scene of the

murders when they occurred. This story was not true, and Gibson said it just to stop the beatings.

This statement becomes crucial to Gibson’s eventual conviction.

ANSWER:        Defendant Byrne admits, upon information and belief based on police reports, that

Plaintiff gave a statement in which he implicated Johnson and Webb in the Benjamin/Wash

murders and that Webb had shot both men. Defendant Byrne denies the allegations in this

paragraph directed at Defendant Byrne, denies all wrongdoing as it relates to his conduct during

the Benjamin/Wash homicide investigation, and denies such conduct occurred in his presence and,

therefore, denies the remaining allegations contained in this paragraph.

42.    Then Officers Caesar, McCann, and Officer William Moser took Gibson out of that

interrogation room, and put him in a room that looked more like an office. He was not handcuffed.

In this new room were two (2) officers and a lady who was a States Attorney and another States

Attorney The lady States Attorney name was Linda Peters, and she was questioning Gibson about

making a statement. Gibson gave ASA Peters the same statement that had been told to him by

Officers Caesar, McCann, and Moser to tell ASA Peters.

ANSWER:        Defendant Byrne admits that Plaintiff made a statement to Assistant States Attorney

Linda Peters, that Assistant States Attorney Bill Merritt may have been present during times, and

that Plaintiff was not handcuffed at that time. Defendant Byrne denies the allegations in this

paragraph directed at Defendant Byrne, denies all wrongdoing as it relates to his conduct during


                                                20
 Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 21 of 96 PageID #:3132




the Benjamin/Wash homicide investigation, and denies such conduct occurred in his presence and,

therefore, denies the remaining allegations contained in this paragraph.

43.    That evening ASA Peters interviewed James Gibson, Eric Johnson and Fernando Webb,

and then she, along with ASA Bill Merritt, refused to approve charges against anyone unless there

was additional corroboration. Gibson, who at that point had been in custody for ninety-six (96)

hours, was then released. However, Eric Johnson and Fernando Webb stayed in custody. This was

on Saturday December 30, 1989.

ANSWER:        Defendant Byrne admits that ASA Peters interviewed Plaintiff, Johnson, and Webb

and that, after conferring with Merritt, ASA Peters declined to approve charges at that time.

Defendant Byrne admits that ASA Peters agreed that additional corroboration was needed prior to

the approval of charges. Defendant Byrne admits that Plaintiff was returned to his residence at that

time and that Johnson and Webb remained in custody on outstanding warrants. Defendant Byrne

admits that this occurred during the early evening of December 30, 1989. Defendant Byrne denies

the allegations in this paragraph directed at Defendant Byrne, denies all wrongdoing as it relates

to his conduct during the Benjamin/Wash homicide investigation, and denies such conduct

occurred in his presence and, therefore, denies the remaining allegations contained in this

paragraph.

44.    Officer McCann took Gibson to Officer Malasanka and Paladino, who released him and

drove him to his house. The police drove Gibson to his residence. Gibson then went directly into

this house where his family was waiting for him.

ANSWER:        Defendant Byrne admits, upon information and belief based on police reports, that

Plaintiff was returned to his home. Defendant Byrne denies the allegations in this paragraph

directed at Defendant Byrne, denies all wrongdoing as it relates to his conduct during the


                                                21
 Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 22 of 96 PageID #:3133




Benjamin/Wash homicide investigation, and denies such conduct occurred in his presence and,

therefore, denies the remaining allegations contained in this paragraph.

45.    Upon his release Gibson went into his home where his family members were waiting.

Unbeknownst to him his sister, Sargent Loraine Brown, who was home on leave from the Army,

had gone to Area 3 looking for him. When Ms. Brown went to Area 3 she was in her Army uniform.

She was told by Jon Burge that her brother James Gibson was going to be released later that day.

She was at the home when Gibson arrived home on December 30, 1989. Also at Gibsons home,

which was his mother’s house at 5734 S. Aberdeen, Chicago, Illinois, was Loraine Brown’s

husband, Steve Brown, her four children Magdalene, Samara, Amanda, and Desai.

ANSWER:        Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and denies such conduct occurred in his presence and, therefore, denies the

remaining allegations contained in this paragraph.

46.    DD Gibson (sic) went directly into his residence after being taken home by the police.

His sister Sgt. Loraine Brown was in the kitchen, about fifteen (15) feet away when he entered.

Gibson looked distraught. At first all of the younger children gathered around Gibson and were

excited that he was home. When Samara Burks, who was one of the younger people there, gave

Gibson a hug around his waist he flinched in pain and said “ow”. Samarra also saw that his face

was swollen. When Gibson took off his coat, Samarra noticed that his right arm was burned, and

there was a swollen mass on his arm where a tattoo had been. Gibson also flinched in pain when

the other people tried to give him a hug. After about five (5) to ten (10) minutes Sgt. Loraine

Brown was able to get close to Defendant James Gibson. She noticed that his face was slightly

swollen. Sgt. Brown went to give James Gibson a hug around his arms and chest, and he jerked


                                                22
 Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 23 of 96 PageID #:3134




and flinched back in pain. Gibson went into the living room and took off his jacket. When he took

off his Jacket Sgt. Brown could see that her brother James Gibson’s arm had been burned on the

upper part of his right arm. Gibson stated that he had been beaten by the police. Because she was

in the Army, Sgt. Brown knew that was illegal and determined to call the police to report the

beating by the detectives.

ANSWER:        Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and denies such conduct occurred in his presence and, therefore, denies the

remaining allegations contained in this paragraph.

47.    About twenty (20) to thirty (30) minutes after Gibson came home Sgt. Loraine Brown

called the police to report that her brother James Gibson had been beaten by the detectives while

he was in police custody. She called 911 first, and was put in touch with the office of professional

standards. According to the records of the Office of Professional Standards Lorraine Brown

contacted the Office of Professional Standards of the Chicago Police Department (“OPS”), on

Saturday December 30, 1989 at 9:30 pm. Sgt. Brown spoke to a woman at OPS. Gibson didn’t call

OPS because he said you can’t call the police on the police, because they do this all the time. The

woman who Sgt. Brown spoke to was Ann Peters. Sgt. Brown told OPS Investigator Peters that

her brother had been beaten by the police. Investigator Peters asked Sgt. Brown some additional

questions about what had happened, and then asked to speak with Gibson. At first Gibson did not

want to talk to Investigator Peters because she was also the police, and it was the police that had

beaten him. Then he spoke to her and Gibson stated that from December 27, 1989 through

December 30, 1989, at least two (2) unknown male white detectives detained him without charging

him for an excessive length of time and physically abused him by slapping, punching, kicking him,


                                                23
 Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 24 of 96 PageID #:3135




and made physical threats against him. Gibson only named Officers O’Mara and Collins to the

OPS investigator because those were the only names of officers that he knew because Officers

O’Mara and Collins left their cards at his house when they were there looking for him on December

27, 1989 when they took his brother Harold into custody. Gibson did not know the names of

the officers because they were not wearing name tags or badges with names on them when they

were interviewing or beating and kicking him. After he had answered Investigator Peters questions,

she told him that someone would contact him within the next three days. Gibson told the OPS

investigator that he would be available.

ANSWER:        Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and denies such conduct occurred in his presence and, therefore, denies the

remaining allegations contained in this paragraph.

48.    After Gibson completed talking to the investigator at OPS he, went into the kitchen and got

some ice for his ribs, butter for the burn, and he went upstairs in the residence to find medications

and use the bathroom. Then after he came downstairs Gibson was told that his other sister was in

the hospital, and that his mother was going to visit her there tomorrow. Then went into the

basement of his residence and talked to his brother.

ANSWER:        Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and denies such conduct occurred in his presence and, therefore, denies the

remaining allegations contained in this paragraph.

                                The Frame Up Of James Gibson

49.    After Gibson’s release, the Defendant Officers knew that charges against Gibson would

                                                 24
 Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 25 of 96 PageID #:3136




not be approved unless they obtained additional corroboration.

ANSWER:        Defendant Byrne admits that ASA Peters had stated that additional corroboration

was needed prior to the approval of criminal charges. Defendant Byrne denies the allegations in

this paragraph directed at Defendant Byrne, denies all wrongdoing as it relates to his conduct

during the Benjamin/Wash homicide investigation, and denies such conduct occurred in his

presence and, therefore, denies the remaining allegations contained in this paragraph.

50.    While he was in custody starting on December 29, 1989, Eric Johnson was interrogated

about the murder of Mr. Benjamin and Mr. Walsh initially by Officers Paladino and Maslanka. At

first Johnson told the officers that he was asleep at home at the time of the murder. At that point

Officer Paladino came around the table and slapped Johnson and called him a nigger and told him

that he was lying. Officer Maslanka kicked Johnson. They told Johnson that they had Gibson in

the next room and Gibson said that Johnson gave Bodine a gun which he used in the murder of

Benjamin and Wash. Maslanka and Paladino continued slapping Johnson and punching him about

the body. This went on for some time and then Officers Breska and Rusnak entered the

interrogation room. Johnson told them he didn’t know anything about the murders of Benjamin

and Wash, and then Officer Breska punched Johnson in the face and Officers Rusnak and Breska

continued to beat, kick, and threaten Johnson.

ANSWER:        Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and denies such conduct occurred in his presence and, therefore, denies the

remaining allegations contained in this paragraph.

51.    Then Officers Caesar and McCann came at told Johnson that they were taking him for a

polygraph test. Johnson refused to consent to the polygraph test, and McCann struck Johnson in the

                                                 25
 Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 26 of 96 PageID #:3137




stomach and told him “nigger you’re taking a polygraph test”. Caesar was in the room when this

happened and did nothing. McCann and Caesar then took Johnson for a polygraph test.

ANSWER:        Defendant Byrne admits, upon information and belief based on police reports, that

Johnson was transported to complete a polygraph examination. Defendant Byrne denies the

allegations in this paragraph directed at Defendant Byrne, denies all wrongdoing as it relates to his

conduct during the Benjamin/Wash homicide investigation, and denies such conduct occurred in

his presence and, therefore, denies the remaining allegations contained in this paragraph.

52.    On the drive back from taking the polygraph test Officer McCann told Johnson that they

didn’t have anything on him, but they could not release him because Gibson had said that he was

involved in the Benjamin/Wash murders. He told Johnson that he just had to say that he had seen

Gibson murder Benjamin and Wash. When they got back to Area 3 McCann told Johnson, in the

presence of Caesar, that they were going to have him meet with an assistant state’s attorney and

that Johnson was going to have to say that he was with Gibson when Gibson shot Benjamin and

Wash. Johnson did not want to say that, and McCann told him that he would have to say he was

with Gibson in order to be a witness. When Johnson said no, in the presence of Caesar, McCann

struck Johnson on the left side of his face, and then grabbed Johnson’s throat and started choking

him and threatening to send him to prison with Gibson. Johnson then agreed to tell the states

attorney what McCann told him to say; that he had seen Gibson shoot Benjamin, in order to stop

the beating and choking, even though it was false.

ANSWER:        Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and denies such conduct occurred in his presence and, therefore, denies the

remaining allegations contained in this paragraph.


                                                 26
 Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 27 of 96 PageID #:3138




53.    Johnson was then placed in a room with ASA Peters. He told Peters that the police had

been beating and threatening him and he was home asleep when Benjamin and Wash were

murdered. Peters told Officer Byrne this and Byrne told McCann and Caesar to take Johnson out

of the room where ASA Peters was. They then took Johnson to another interrogation room where

Byrne took out his gun and asked Johnson if this was like the gun that was used to kill Benjamin

and Wash. Byrne then pointed the gun at Johnson and told him that he better “stop fucking lying”

and saying you were home asleep and that he better “tell them you had something to do with this

shit nigga”. Then McCann and Caesar put Johnson in another interrogation room where he stayed

until Officers Moser came in.

ANSWER:        Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and denies such conduct occurred in his presence and, therefore, denies the

remaining allegations contained in this paragraph.

54.    Moser told Johnson that Gibson had told them all they needed and he needed Johnson as a

witness, and then he could go home because they didn’t have anything on him. Moser told Johnson

that they were going to charge Gibson and they wanted his statement to make him a witness against

Gibson, just like Webb. Johnson agreed to sign a statement because he was tired of being tortured

and threatened and he feared for his life, and he wanted to go home.

ANSWER:        Defendant Byrne admits that Johnson agreed to give a statement relating to the

Benjamin/Wash murders but denies it occurred in the manner alleged by Plaintiff and denies all

wrongdoing as it relates to his conduct during the Benjamin/Wash homicide investigation.

55.    Later that same day, December 31, 1989 at approximately 8:00 p.m. a male Assistant States

Attorney came into the room where Johnson was with a statement already written up and told

                                               27
 Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 28 of 96 PageID #:3139




Johnson that he needed Johnson to sign his name and put his initials on the statement. Johnson was

never allowed to read the statement.

ANSWER:        Defendant Byrne admits that Johnson gave and signed a statement on December

31, 1989 at approximately 8:00 p.m. in the presence of Assistant States Attorney Ricardo Correa.

Defendant Byrne denies the remaining allegations contained in this paragraph.

56.    The statement that Johnson signed said that James Gibson told him about his plans to rob

Lloyd Benjamin and that Gibson paid him $50 to be the look out when he robbed Benjamin. The

statement further said that when he was the lookout for the robbery he saw James Gibson shoot

and kill Benjamin. This statement was false and the only reason that Johnson signed it was because

Johnson had been tortured, abused, and threatened by McCann, Caesar, Breska, Rusnak, Maslanka,

Paladino and Byrne.

ANSWER:        Defendant Byrne admits that the statement given and signed by Johnson stated that

Plaintiff informed Johnson of his intent to rob Benjamin, that Plaintiff offered Johnson $50 to act

as a lockup during the robbery, and that Johnson observed Plaintiff shooting Benjamin. Defendant

Byrne denies the remaining allegations contained in this paragraph.

57.    Right after Johnson had agreed to sign a written statement saying he was with Gibson, and

saw him shoot Benjamin and Wash, but before he signed it, Defendant Officers Byrne, O’Mara,

Moser, Collins, McCann, Ptak, and Caesar, (along with Officers Smith, Connors and Duffin) went

to Gibson’s home and arrested him for the second time. When the Defendant Officers Byrne,

O’Mara, Moser, Collins, McCann, Ptak, and Caesar arrested Gibson this second time they knew

that they did not have probable cause to do so because they knew that the statements against him

were the product of false statements which they had fabricated and procured through torture, and

there was no other evidence against Gibson tying him to the Benjamin/Wash murders.

                                                28
 Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 29 of 96 PageID #:3140




ANSWER:        Defendant Byrne admits that Plaintiff was arrested for the Benjamin/Wash murders

on December 31, 1989 at approximately 7:00 p.m. and that Johnson signed his statement on

December 31, 1989 at approximately 8:00 p.m. Defendant Byrne admits that the arrest report

identifies Moser, Ptak, Byrne, Collins, O’ Mara, Smith, Connors, and Duffin as arresting officers.

Defendant Byrne denies the remaining allegations contained in this paragraph.

58.    When Gibson was taken back to Area 3 he refused to talk to the Defendant Officers and he

was placed in an interrogation room.

ANSWER:        Defendant Byrne admits that Plaintiff declined to make a statement following his

December 31, 1989 arrest.

59.    However, even with Johnson’s statement, the Defendant Officers knew that they needed to

fabricate additional corroboration against Gibson because they knew that Johnson had given

contradictory statements earlier, and that this could cause a problem in getting the murder charges

approved. They also knew that Fernando Webb, who was willing to say whatever they asked him

to say, was an addict so his statement would be subject to suspicion. So Officers Moser, Byrne,

O’Mara, Collins, McCann, Ptak, and Caesar agreed that they would obtain additional false

statements from other people in order to fabricate corroboration for Johnson’s statement against

Gibson.

ANSWER:        Defendant Byrne denies the allegations contained in this paragraph.

60.    From earlier interviews the Defendant Officers knew that Johnson had two (2) sisters who

lived at the same address he did, Carla Smith and Janice Johnson. Defendant Officers Moser,

O’Mara, Collins, McCann and Caesar agreed to take Carla and Janice into custody and put them in

interrogation rooms at Area 3 and use intimidation and lies in order to get them to give statements

which could be used as corroboration to justify the arrest and charge of Gibson for the

                                                29
 Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 30 of 96 PageID #:3141




Benjamin/Wash murders.

ANSWER:        Upon information and belief, Defendant Byrne admits that Carla Smith and Janice

Johnson were transported to Area 3 after agreeing to give statements. Defendant Byrne denies the

remaining allegations contained in this paragraph.

61.    On December 31, 1989, after 9:00 p.m., the Defendant Officers Moser, O’Mara, Collins,

McCann and Caesar went to the home were Carla Smith and Janice Johnson lived, and handcuffed

them, took them into custody, drove them to Area 3 and put them in separate interrogation rooms.

Carla and Janice were held against their will. The Officers did not have any probable cause to

arrest and hold either Janice or Carla.

ANSWER:        Upon information and belief, Defendant Byrne admits that Carla Smith and Janice

Johnson were transported to Area 3 after agreeing to give statements. Defendant Byrne denies the

remaining allegations contained in this paragraph.

62.    Carla and Janice were interrogated by Officer Moser while Officers Collins, O’Mara,

McCann and Caesar were present. Carla was interrogated first and she told Moser that they didn’t

know anything about the Benjamin/Wash murders and that her bother was home asleep at the time

of the murders. Officer Moser then yelled at Carla telling her she was lying, that her brother Eric

Johnson was being charged with murder, and threatened to charge Carla with being an accessory

to murder unless she said that she heard Gibson discuss robbing Benjamin. Moser also promised

that if she signed a statement saying she had heard Gibson talk about robbing Benjamin that her

bother would not be changed and would be released. Carla then agreed to sign a statement saying

that she heard Gibson discuss robbing Benjamin, even though it was false because she was afraid

that she would be charged if she didn’t and because the Officer promised to release her brother

Eric Johnson and not charge him with murder.

                                                30
 Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 31 of 96 PageID #:3142




ANSWER:        Upon information and belief, Defendant Byrne admits that Carla Smith agreed to

sign a statement that she heard Plaintiff discuss robbing Benjamin. Defendant Byrne denies the

remaining allegations contained in this paragraph.

63.    Moser then interrogated Janice while O’Mara, Collins, McCann and Caesar were present.

Janice also initially said that that her brother was home asleep at the time of the murders. Moser

then told Janice that Carla has said that both she and Janice had heard Gibson discuss the

Benjamin/Wash murders. Moser said that he was going to charge Janice with being part of the

murders unless she said the same as Carla. He also promised Janice that if she signed a statement

then would not be changed and would be released. Janice then agreed to sign a statement saying

that she heard Gibson discuss robbing Benjamin, even though it was false because she was afraid

that she would be charged if she didn’t and because the Officer promised to release her brother

Eric Johnson and not charge him with murder.

ANSWER:        Upon information and belief, Defendant Byrne admits that Janice Johnson agreed

to sign a statement that she had heard Plaintiff discuss robbing Benjamin. Defendant Byrne denies

the remaining allegations contained in this paragraph.

64.    Just prior to getting false written statements from Carla and Janice, Officer Moser, with

Collins, O’Mara, McCann and Caesar, told Fernando Webb that if he agreed to state that he saw

James Gibson holding a gun outside of the garage where Benjamin and Wash were murdered, he

would not be charged with the murders, and he would be released from custody without being

charged. Webb, who was the actual murders [sic] of Benjamin and Wash, of course agreed to this

deal, and signed a statement saying he saw Gibson standing outside of the garage holding a gun.




                                               31
 Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 32 of 96 PageID #:3143




ANSWER:        Upon information and belief, Defendant Byrne admits that Webb signed a

statement that he had observed Plaintiff standing outside of Wash’s garage while holding a gun.

Defendant Byrne denies the remaining allegations contained in this paragraph.

65.    Amazingly, even though Fernando Webb, a heroin addict with a long criminal record of

violent and gun crimes, including armed robbery, had just made a statement putting him at the

scene of the Benjamin/Wash murders at the time of the murders, the Defendant Officers released

Webb without any charges. Further, and unbelievably, the Defendant Officers chose to charge

Gibson and Johnson with a capital offense rather than take the time and effort to investigate to see

if there was any physical evidence against Webb, such as to search his home to see if the murder

weapon was there, or to take a gunshot residue test to see if he had fired a gun recently. Shortly

after his release Webb committed, and was charged, with yet another armed robbery.

ANSWER:        Upon information and belief, Defendant Byrne admits that Webb was not

criminally charged for the Benjamin/Wash murders. Defendant Byrne denied that he “chose to

charge” Plaintiff and Johnson with any crime as the Assistant State’s Attorney approved felony

charges. Defendant Byrne denies the allegations in this paragraph directed at Defendant Byrne,

denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and denies such conduct occurred in his presence and, therefore, denies the

remaining allegations contained in this paragraph.

66.    In addition to the forgoing, the fact that Gibson was not identified in any of the three (3)

lineups at Area 3 was hidden by Officers O’Mara, Collins, Maslanka, Paladino and McCann, and

was never put in any reports, and was concealed by the Defendant Officers and was never disclosed

to Gibson at any time prior to his trial or during his appeals.




                                                  32
 Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 33 of 96 PageID #:3144




ANSWER:        Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and denies such conduct occurred in his presence and, therefore, denies the

remaining allegations contained in this paragraph.

67.    Solely based false statements of Johnson, Webb, Carla and Janice, which were procured

by torture, intimidation, lies and false promises, and by concealing the fact that Gibson had not

been identified in any of the lineups, Gibson was charged with the murders of Benjamin and Wash

along with Keith Johnson.

ANSWER:        Defendant Byrne admits that Plaintiff and Johnson were charged with the

Benjamin/Wash murders. Defendant Byrne denies the remaining allegations contained in this

paragraph.

                             The Trial And Continued Conspiracy

68.    When Gibson was to be first brought before a judge at his bond hearing, within a day of

being charged, he was assigned a Public Defender for the bond hearing. When the public defender

spoke to him in the holding cell outside of the bond court Gibson immediately told the public

defender that he had been beaten by the police. The public defender documented Gibson’s

statement that he had been beaten by the police this in his notes.

ANSWER:        Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and lacks knowledge or information sufficient to form a belief as to the truth of the

remaining allegations contained in this paragraph.

69.    When Gibson was called before the bond court judge, the Hon. Judge Robert Bastone, he

told Judge Bastone that he had been beaten by the police. Judge Bastone asked the public defender


                                                 33
 Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 34 of 96 PageID #:3145




what police station Gibson had been at, and when he was told it was Area 3, Judge Bastone

instructed the public defender to call an investigator and to have photographs taken to document

the injuries to Gibson.

ANSWER:        Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and lacks knowledge or information sufficient to form a belief as to the truth of the

remaining allegations contained in this paragraph.

70.    The public defender ordered an investigator to photograph Gibson. Judge Bastone entered

an Order that stated “It is hereby ordered that the Public Defenders investigator be allowed to

photograph James Gibson”. After a short while the public defender came into the judge’s chambers

with an investigator who had a camera. The bailiff helped Gibson take his shirt off, and the public

defenders investigator took pictures of Gibson. Four color Polaroid photographs were taken of

James Gibson’s chest and ribcage area. These photographs bear the name of the investigator who

took them (“Inv. Martorana”), Judge Bastone’s name, the date they were taken, and the notations

“Right Chest Swollen” “Left Chest Swollen”, and the name of the subject “James Gibson. These

pictures show bruises and swelling on Gibson’s body which are consistent with Gibson’s

allegations of being punched in the chest by the police.

ANSWER:        Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and lacks knowledge or information sufficient to form a belief as to the truth of the

remaining allegations contained in this paragraph.

71.    The public defenders notes from the bond hearing state in the bottom right hand corner,

“Took photos of Δ – said he was severely beaten by police. See Gus”. Gibson was then sent to


                                                34
 Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 35 of 96 PageID #:3146




Cermak Hospital in the Cook County Jail. On January 3, 1991 at 5:00 a.m., Gibson arrived at the

Cermak Hosptial emergency room. Gibson complained to the emergency room at Cermak of pain

caused because he was “hit by police”. The physical findings on the emergency room record state

“no apparent distress, no apparent trauma L chest wall”. However, the Patient Admission form for

Gibson from Cermak later on January 3, 1990 states in the physical assessment part states that

Gibson has “bruises on left ribs”. The Mental Status Assessment says that Gibson “states he was

beaten up”.

ANSWER:        Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and lacks knowledge or information sufficient to form a belief as to the truth of the

remaining allegations contained in this paragraph.

72.    Gibson’s was indicted and he his case was assigned to Judge Richard Neville. Paul Stralka

of the Cook County Public Defender’s Office was appointed as Gibson’s attorney. Gibson’s co-

defendant was Eric Johnson, who Gibson knew as Keith Smith. The matter was continued from

time to time, and Gibson’s attorney filed a Motion To Quash Arrest And Suppress Evidence.

Gibson also filed his own pro se “Supplemental Motion to Quash Arrest And Suppress Evidence”.

The public defenders Motion To Quash is a form motion based on the allegation of an arrest

without probable cause. Gibson pro se Supplemental Motion alleged that Eric Johnson’s sisters

were coerced by the police into giving statements with false promises that the statements would

help their brother, that Gibson was in three (3) lineups that witnesses failed to identify him. Gibson

attached to his pro se Supplemental Motion a written statement of Eric Johnson which stated that

he was beaten repeatedly by Detectives O’Mara and Collins who forced him to sign an untrue

statement implicating James Gibson in the murders of Lloyd Benjamin and Hunter Walsh. Co-


                                                 35
 Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 36 of 96 PageID #:3147




Defendant Eric Johnson, who had signed a written confession to being involved in the murders of

Benjamin and Walsh as a lookout for Gibson, filed a Motion To Quash and Suppress the statement

based on his allegation that he was physically coerced and beaten into signing the statement. Both

motions went to hearing on February 14, 1991.

ANSWER:        Defendant Byrne admits, upon information and belief, that there was a motion

hearing as it relates to Johnson’s criminal proceeding. Defendant Byrne denies the allegations in

this paragraph directed at Defendant Byrne, denies all wrongdoing as it relates to his conduct

during the Benjamin/Wash homicide investigation, and denies such conduct occurred in his

presence and, therefore, denies the remaining allegations contained in this paragraph.

73.    During the part of the hearing on Gibson’s Motion To Quash and Suppress and Gibson’s

Supplemental Motion To Quash and Suppress, the Assistant State Attorney made the following

statement when arguing about whether Gibson’s motion was really even necessary:

       “The fact of the matter is that no evidence was obtained as a result of arresting him.

       There were no statements, no line-ups, no physical evidence found by the

       defendant, or off this person which your honor could possibly suppress. There

       is nothing to suppress.”

ANSWER:        Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and lacks knowledge or information sufficient to form a belief as to the truth of the

remaining allegations contained in this paragraph.

74.    Judge Neville denied Gibson’s motion to suppress stating:

       “And thirdly, it does not appear from what the state’s position is that there is

       nothing to suppress in any event.

                                                36
 Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 37 of 96 PageID #:3148




       The motion to quash, if it’s granted, or if it were to be granted, will not in some

       way affect Mr. Gibson’s case as to the evidence that comes against him because

       if he made statements to the police on prior investigations before he was under

       arrest, it’s not affected. And if in fact there there’s no line-up and no

       statements, there’s nothing to suppress to begin with.

       And therefore, I think, for all three of those reasons, the motion is not well

       founded.”

ANSWER:        Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and lacks knowledge or information sufficient to form a belief as to the truth of the

remaining allegations contained in this paragraph.

75.    After Gibon’s Motion and Supplemental Motion were denied, the trial court proceeded to

hear the co-defendant Eric Johnson’s Motion to Quash And Suppress, based on the physical

coercion of his written confession. At the hearing, the State called Assistant States Attorney

Richard Correa, Defendant Officer William Moser (who also testified regarding Gibson’s Motion),

Defendant Officer John Paladino (who later took the 5th when questioned about his role in abusing

Johnson and Gibson), Assistant States Attorney Linda Peters, and Eric Johnson. Johnson’s motion

was also denied. The cases then proceeded forward and were set for trial. Co- Defendant Eric

Johnson was convicted by a jury of first degree murder on January 21, 1992.

ANSWER:        Defendant Byrne admits that there was a motion hearing as it relates to Johnson’s

criminal proceeding. Defendant Byrne denies the remaining allegations in this paragraph directed

at Defendant Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash




                                                37
 Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 38 of 96 PageID #:3149




homicide investigation, and lacks knowledge or information sufficient to form a belief as to the

truth of the remaining allegations contained in this paragraph.

76.    Gibson’s bench trial commenced on October 7, 1991, ten (10) months prior to Johnson’s

jury trial, on October 7, 1991. The trial was not finished on the first day, and was continued to,

and finished on, October 8, 1991. At Gibson’s trial the following people testified: William

Benjamin, Rosa Wash, Leon Coley, Curtis Garmon, Carla Smith, Janice Johnson, Mark

Grohevena, Fernando Webb, and Officer William Moser. Moser was the only witness who testified

on October 8, 1991.

ANSWER:        Upon information and belief, Defendant Byrne admits that Plaintiff’s criminal trial

occurred in October 1991 and testimony and other evidence was presented. Defendant Byrne

denies the allegations in this paragraph directed at Defendant Byrne, denies all wrongdoing as it

relates to his conduct during the Benjamin/Wash homicide investigation, and lacks knowledge or

information sufficient to form a belief as to the truth of the remaining allegations contained in this

paragraph.

77.    During Moser’s testimony on October 8, 1991, the State asked him about an alleged

conversation he had with Gibson. At this point Gibson’s public defender Stralka objected and

made a “motion in limine” to exclude the statement on hearsay grounds. Stralka did not object on

the grounds, or bring up the fact, that the statement was the product of torture and coercion.

ANSWER:        Defendant Byrne denies torturing or coercing Johnson or Plaintiff and, as a result,

denies the allegations contained in this paragraph.

78.    Moser testified that Gibson had stated he was standing outside the garage where Benjamin

and Wash were murdered and that Gibson had further stated that two months earlier had heard

Fernando Webb and Eric Johnson plan the robbery. Not only was this testimony not an accurate

                                                 38
 Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 39 of 96 PageID #:3150




description of the statement that Gibson had been tortured into giving, Defendant Officer Moser

failed to inform the court that he and his fellow Defendant Officers had tortured Gibson into

making the statement that he had made. In allowing Moser’s testimony regarding Gibson’s alleged

statement into evidence Judge Neville stated:

       “Well I think, first of all, it is an admission as I stated before about being at the

       scene of the incident and also about knowing about it prior to it occurring and being

       there when it happens. Whatever inferences everybody is going to argue from that

       is a matter for the parties at trial. Whether it is an admission against interests or an

       admission against penal interests, I think it has to be determined on the basis of all

       the evidence in the record, but I think there is a sufficient showing at this point for

       it to be allowed, which I am going to do. I am overruling the motion in limine and

       the objection of the defense.”

ANSWER:        Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and lacks knowledge or information sufficient to form a belief as to the truth of the

remaining allegations contained in this paragraph.

79.    At the end of the trial on October 8, 1991, the Judge Neville found the Defendant guilty of

murdering Benjamin and Wash. In finding the Gibson guilty the Judge Neville emphasized the

importance of the statement that Moser testified that Gibson had given after having been beaten,

kicked, and tortured by the Defendant Officers. Moser also failed to inform the Court that he and

the Defendant Officers had threatened and lied to Carla Smith and Janice Johnson in order to get

them to give false statements, nor did he inform the Court that the Defendant Officers had told

Fernando Webb that if he signed a statement he would not be charged with the Benjamin/Wash


                                                 39
 Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 40 of 96 PageID #:3151




murders and that he would be released. Judge Neville stated:

       “Then I have a question of what to do with the statement of Mr. Gibson. I think at

       this point it is clear that there is an admission l and I believe that this becomes more

       than just an admission to being in the location based on a couple of other things that

       I think that corroborates. There is no doubt at this point that Mr. Gibson said he was

       there when this incident happens, and there is no doubt that Mr. Gibson says he

       sees a gun. He just has the gun in the hands of two other people.

       I think that the statement of the state's attorney in closing argument that it doesn't

       make much sense that once they are at the garage and this robbery is about to take

       place that the gun would be passing hands right at that point. That is, however, a

       minor matter. Basically, Mr. Gibson puts himself there and says other people did it.

       He does not explain why, if he knew about this being, planned for some months

       before and in fact, he knew that the robbery was going to take place, why is he there

       to begin with. Apparently, the officers didn't ask, and Mr. Gibson didn't decide to

       indicate that. I find it pretty remarkable that it would be happenstance that he would

       show up at the garage two months or -- Let's not even say two months –whatever

       time after he knew that a robbery was going to take place, he would be there right at

       the exact time that this happened.

       This is a horrible case for a number of reasons. You have two people who are not

       doing anything other than conducting a small conducting small business for

       themselves, and they are both shot in the head. Apparently, at relatively close-range

       for Mr. Benjamin and probably wasn't too far away for Mr. Wash either. It is a case

       with tremendous ramifications for all of the parties involved. It is not a case to be



                                                 40
 Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 41 of 96 PageID #:3152




       taken lightly. I have thought long and hard after I heard the evidence yesterday

       about what the state has. I think that the statement from Mr. Gibson is of

       extreme importance in my finding as it corroborates the testimony of both the

       sisters and Fernando Webb and more than just some slight details. I find that Carla

       and Janice Webb are credible witnesses regarding their testimony that Mr. Gibson

       was in their house and had made those statements. I find that Fernando Webb is

       credible to the extent that he puts Mr. Gibson, and corroborates Mr. Gibson's own

       statement at the garage with the gun at the time. I think that that testimony and that

       evidence coupled with Mr. Gibson's knowledge of the robbery and being at the

       location in his own words are sufficient to prove Mr. Gibson guilty of this crime for

       both murders beyond a reasonable doubt, and I find him guilty.”

ANSWER:        Upon information and belief, Defendant Byrne admits that Plaintiff was found

guilty following a trial. Defendant Byrne denies beating, kicking, or torturing Plaintiff. Defendant

Byrne denies threatening or lying to Carla Smith or Janice Johnson in order to have the witnesses

give false statements. Defendant Byrne denies the allegations in this paragraph directed at

Defendant Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash

homicide investigation, and denies such conduct occurred in his presence and, therefore, denies

the remaining allegations contained in this paragraph.

80.    Gibson was sentenced to natural life in prison. He timely appealed from the verdict,

judgment and sentence. His conviction was affirmed by the appellate court. Gibson was also

denied leave to appeal to the Illinois Supreme Court, as well as certiorari to the U.S. Supreme

Court. Gibson then filed several post-conviction petitions and a Habeas Corpus petition, all of

which were denied.


                                                41
 Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 42 of 96 PageID #:3153




ANSWER:          Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and lacks knowledge or information sufficient to form a belief as to the truth of the

remaining allegations contained in this paragraph.

81.       Then, in December of 2010, Gibson’s co-defendant, Eric Johnson was granted a new trial

based on the fact that he was tortured into making a confession to involvement into the murders of

Lloyd Benjamin and Hunter Walsh. It was this confession that implicated Gibson and caused his

second arrest. Prior to this confession Gibson had been released by police, and it was after this

confession by Johnson that Gibson was re-arrested. Co-defendant Johnson did not have a re-trial,

as he accepted an agreement for an Alford plea of guilty in exchange for a sentence of time served.

In the Alford plea, the State agreed that even though co-defendant Johnson was pleading guilty, he

was still maintaining his innocence. Co-defendant Johnson was then immediately released from

prison.

ANSWER:          Defendant Byrne admits that Johnson gave a statement implicating Plaintiff in the

Benjamin/Wash murders. Defendant Byrne denies, upon information and belief, that Johnson’s

plea of guilty was an Alford plea. Defendant Byrne denies the allegations in this paragraph directed

at Defendant Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash

homicide investigation, and lacks knowledge or information sufficient to form a belief as to the

truth of the remaining allegations contained in this paragraph.

                The Illinois Torture Inquiry And Relief Commission Proceedings

82.       The Illinois Torture Inquiry and Relief Commission Act, 775 ILCS 40/1 et seq., (“TIRC”)

was passed by the Illinois State Legislature, and became effective, on August 10 2009, and

“establishes an extraordinary procedure to investigate and determine factual claims of torture

                                                42
  Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 43 of 96 PageID #:3154




related to allegations of torture.........” 775 ILCS 40/10 Under the TIRC Act, a claim of torture is

defined as “a claim on behalf of a living person convicted of a felony in Illinois asserting that he

was tortured into confessing to the crime for which the person was convicted and the tortured

confession was used to obtain the conviction and for which there is some credible evidence related

to allegations of torture committed by Commander Jon Burge or any officer under the supervision

of Jon Burge.” 775 ILCS 40/5 It took several years for the TIRC to be set up and funded, and it

began taking complaints in 2011.

ANSWER:        Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and lacks knowledge or information sufficient to form a belief as to the truth of the

remaining allegations contained in this paragraph.

83.     On May 29, 2012, Gibson filed a claim with The Illinois Torture Inquiry and Relief

Commission (“TIRC”) stating that he had been convicted based on a statement which was the

product of torture by police officers working under the command of Jon Burge.

ANSWER:        Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and lacks knowledge or information sufficient to form a belief as to the truth of the

remaining allegations contained in this paragraph.

84.     On July 22, 2015, TIRC issued it’s Case Disposition on Gibson’s complaint, which found

that:

        “Pursuant to 775 ILCS 40/45(c), and 2 Ill. Adm. Code §§ 3500.385(b) and

        3500.386, the Commission (“TIRC”) concludes that, by a preponderance of the

        evidence, there is sufficient credible evidence of torture to merit judicial review.”


                                                  43
 Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 44 of 96 PageID #:3155




ANSWER:        Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and lacks knowledge or information sufficient to form a belief as to the truth of the

remaining allegations contained in this paragraph.

                        The Hearing in the Circuit Court and Appeals

85.    The case was then sent to the Circuit Court of Cook County for judicial review, and was

eventually assigned to Judge Neera Wash, who heard six (6) days of testimony between March 8,

2016 and July 12, 2016. Gibson submitted forty-six (46) exhibits of over nine hundred and fifty

(950) pages in support of his case. Gibson also presented the expert testimony of Doctor Michael

Wolfson Kaufman, a forensic pathologist, who examined the Polaroid photos of Gibson taken in

Judge Bastone’s courtroom, as well as the medical records from Cermak Hospital and Cook

County Jail. Doctor Kaufman testified that based on his examination of the pictures and medical

records he was able to render an opinion within a reasonable degree of certainty in the field of

forensic and anatomical pathology, that the findings were, “consistent with Mr. Gibson’s

allegations of being punched in the chest bilaterally”.

ANSWER:        Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and lacks knowledge or information sufficient to form a belief as to the truth of the

remaining allegations contained in this paragraph.

86.    Gibson also called Officers Byrne and Paladino to testify. Both Byrne and Paladino invoked

their Fifth Amendment right to remain silent and refused to answer any questions in regard to their

involvement in the Benjamin and Wash murder investigation. When asked if they had either

participated in or observed James Gibson or Eric Johnson being beaten, punched, kicked, burnt or

                                                 44
 Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 45 of 96 PageID #:3156




otherwise physically abused or coerced during their interrogations of Gibson or Johnson, Byrne

and Paladino invoked their Fifth Amendment right to remain silent.

ANSWER:        Defendant Byrne denies he engaged in any misconduct during the investigation into

the Benjamin/Wash homicides and denies he engaged in any misconduct during any interaction

with Plaintiff, Eric Johnson, or any of the witnesses interviewed relating to the Benjamin/Wash

homicides. Defendant Byrne admits the existence of a transcript for Plaintiff’s post-conviction

hearing and refers to that transcript for its content: Defendant Byrne denies any allegations

inconsistent with that transcript. Defendant Byrne lacks knowledge or information sufficient to

form a belief as to the truth of the remaining allegations contained in this paragraph.

87.    Carla Smith was then called by Gibson to testify. She stated that she was Eric Johnson’s

sister. Smith indicated that on December 31, 1989 she was taken to the police station where her

brother, Eric Johnson, and James Gibson were in custody for murder. She was told by the

detectives investigating the murder that her brother would be released if she made a statement. She

went on to testify that the detectives wrote down a different version of facts than what she had

verbally told them. Smith indicated that she continued to tell the detectives that what they wrote

down was not what she had said happened. Eventually, Smith signed the paper that the detectives

had drafted. She went on to testify that she never heard Defendant say that he was going to rob the

insurance man. Smith testified that she never saw Defendant show her brother a gun. She stated

that she signed the statement that the detectives had drafted because the police told her to sign it

and if she did, that they would release her brother. (R. 131).

ANSWER:        Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide




                                                 45
 Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 46 of 96 PageID #:3157




investigation, and lacks knowledge or information sufficient to form a belief as to the truth of the

remaining allegations contained in this paragraph.

88.    Eric Johnson a/k/a Keith Smith was called to testify by Gibson. He testified in great detail

how he had been tortured by Maslanka, Paladino, McCann, Byrne, and others into signing a false

confession. He said that everything in his confession was false and the product of torture. He

testified that neither he nor Gibson had anything to do with the murders of Benjamin and Wash.

ANSWER:        Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and lacks knowledge or information sufficient to form a belief as to the truth of the

remaining allegations contained in this paragraph.

89.    In addition to Byrne and Paladino, Defendant Officers Moser, Leja, Caesar, and Rusnak,

testified. Officers Moser, Leja, Caesar, and Rusnak testified that they had no independent

recollection of what occurred back December 1989 in the interrogation of Gibson or Johnson.

However, Caesar testified that he never even encountered James Gibson at Area 3 even though

Officer Moser testified at the trial that Caesar and McCann were present when Gibson gave his

statement. Further, Moser, Leja, Caesar, and Rusnak all testified that they had no knowledge of

any abuse of suspects or witnesses by anyone working under John Burge.

ANSWER:        Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and lacks knowledge or information sufficient to form a belief as to the truth of the

remaining allegations contained in this paragraph.

90.    After the close of evidence and after the parties argued, on July 29, 2016, the Judge Neera

Walsh made a written ruling as to the TIRC evidentiary hearing, which is incorporated in the

                                                46
 Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 47 of 96 PageID #:3158




Common Law Record. In her ruling, the Court found defendant did not show by a preponderance

of the evidence that his confession was coerced by police torture, and he was denied any relief by

the Court.

ANSWER:        Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and lacks knowledge or information sufficient to form a belief as to the truth of the

remaining allegations contained in this paragraph.

91.    Gibson appealed and Judge Walsh’s ruling denying him relief, and on March 22, 2018, the

Illinois Appellate Court reversed Judge Walsh’s ruling denying Gibson any relief, and remanded

Gibson’s case back to Judge Walsh. People v. James Gibson 2018 IL App (1st) 162177. The

Appellate Court instructed Judge Walsh to take a negative inference from Byrne and Paladino’s

invocation of their 5th Amendment privilege, holding that her failure to do so was error:

       “While an adverse inference is permissive rather than mandatory, we think it can

       be error not to draw one when there is no credible reason for refusing to do so. And

       here, certain of defendant's allegations against Paladino were not rebutted by any of

       the detectives' testimony, or by any other evidence in the record. Those allegations

       were also corroborated-not proven, but corroborated-by defendant's immediate

       complaint to the Chicago Police Department's Office of Professional Standards and

       by contemporaneous documentation of his injuries, which, a forensic pathologist

       testified, were consistent with his allegations that Paladino and other officers

       repeatedly punched and kicked him in the chest.

ANSWER:        Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

                                                47
 Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 48 of 96 PageID #:3159




investigation, and lacks knowledge or information sufficient to form a belief as to the truth of the

remaining allegations contained in this paragraph.

92.    The Appellate Court also commented on Judge Walsh’s ruling, stating that she was incorrect

in her analysis of the evidence and testimony. The Appellate Court stated:

       “But a closer look at the pretrial proceedings demonstrates that defendant's claims

       have far more merit than the trial court credited.”

       and

       “But we can go no further in crediting the circuit court's findings on the evidence.

       While there is no question that the details of defendant's testimony varied, there is

       likewise no question that the core allegations have remained the same: a group of

       detectives, including Paladino and Maslanka, repeatedly slapped, punched, and

       kicked him, primarily in his chest.”

ANSWER:        Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and lacks knowledge or information sufficient to form a belief as to the truth of the

remaining allegations contained in this paragraph.

93.    On remand neither the State nor Gibson submitted any additional evidence or testimony

and rested on the record and the Appellate Court’s Opinion. Then, on August 27, 2018, Judge

Walsh issued her second written Order denying Gibson any relief based on the TIRC Case

Disposition. Gibson appealed this second ruling, and on March 13, 2019, the Illinois Appellate

Court issued an Order which again reversed Judge Walsh’s denial of relief to Gibson in People v.

James Gibson 2019 IL App (1st) 182040-U.




                                                48
 Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 49 of 96 PageID #:3160




ANSWER:        Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and lacks knowledge or information sufficient to form a belief as to the truth of the

remaining allegations contained in this paragraph.

94.    In this Order the Appellate Court not only reversed Judge Walsh, but they also ordered that

Gibson’s conviction for the murders of Benjamin and Walsh be vacated, that Gibson be given a

new trial where his statement to the Defendant Officers could not be used because it was the

product of police torture, and that the retrial be heard by a judge other than Judge Walsh. In this

Order the Appellate Court made the following findings:

       We will not indulge any more speculation, either from the circuit court or the State.

       There is not a shred of evidence that defendant was injured in a holding cell, at his

       own hands, or in any other way except one: Burge's subordinates beat him

       during his interrogation. (emphasis added)

       The circuit court did not cast any legitimate doubts on the evidence pointing to that

       conclusion. That was partly because its ostensible "doubts" were often sheer

       speculation, lacking any basis at all in the record. And partly because it looked at

       each piece of documentary evidence in isolation. It failed to probe, in any

       meaningful way, how that evidence all fit together, how each piece lent further

       corroboration to the others. When viewing the evidence as a whole, it is exceedingly

       difficult, if not impossible, to explain it all" away as the paper trail of a (fairly

       elaborate, if soon abandoned) ruse. Defendant's immediate outcry, and the

       substantial body of documentary evidence it generated, is compelling evidence

       that he was punched and kicked in the chest during his interrogation.


                                                49
 Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 50 of 96 PageID #:3161




       (emphasis added)

       When we consider all of the evidence and circumstances favoring defendant's

       claim, including a properly drawn adverse inference, we can only conclude that

       defendant has made a strong case that he was beaten during his custodial

       interrogation at Area 3. (emphasis added)

       Defendant's incriminating statement proved to be the decisive evidence against

       him, the lynchpin of his conviction in the eyes of the trial judge. That fact adds

       injury to insult as it were, undermining confidence in the result of defendant's trial,

       as well as offending some of our most basic constitutional norms governing' the

       conduct of the police and the integrity of the criminal trial process. But the affront

       to those norms would have entitled defendant to relief anyway, as "the use of a

       defendant's physically coerced confession as substantive evidence of his guilt can

       never be harmless error.”

       In sum, defendant is entitled to a new trial, at which his incriminating statement to

       the Area 3 detectives, the product of police torture, may not be introduced as

       substantive evidence of his guilt. (emphasis added)

ANSWER:        Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and lacks knowledge or information sufficient to form a belief as to the truth of the

remaining allegations contained in this paragraph.

                                      Gibson’s Exoneration

95.    The case was then remanded to the Circuit Court of Cook County. On April 4, 2019,

Presiding Judge Leroy Martin, Jr., entered an Order vacating Gibson’s conviction for the murders


                                                 50
 Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 51 of 96 PageID #:3162




of Benjamin and Wash. The case was then assigned to Judge Hooks for trial. The State made a

motion for a substitution of judges as a matter of right, and the case was then re-assigned to Judge

Alfredo Maldonado for trial. Gibson demanded trial and made a motion to be released on bond

while the case was pending, and on April 18, 2019 Judge Maldonado released Gibson on a $20,000

“D” bond, requiring him to post $2000 in bail, which he posted, releasing Gibson from custody

for the first time since December 30, 1989.

ANSWER:        Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and lacks knowledge or information sufficient to form a belief as to the truth of the

remaining allegations contained in this paragraph.

96.    Then on April 26, 2019, the State made a motion nolle prosequi to dismiss all charges

against James Gibson, which was granted. All charges for the murders of Lloyd Benjamin and

Hunter Wash were dismissed against James Gibson on April 26, 2019.

ANSWER:        Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and lacks knowledge or information sufficient to form a belief as to the truth of the

remaining allegations contained in this paragraph.

City of Chicago’s De Facto Policy of Police Torture by Officers Working Under Jon Burge

97.    It is well established that during the time period of 1973 to 2006, crime suspects brought

to Areas Two (2) and Three (3) of the Chicago Police Department were routinely subject to mental,

physical and psychological coercion under Chicago Police Commander Jon Burge and his

detectives and that this torture was systematic. People v. Wrice, 406 Ill. App. 3d 43, (1st Dist.

2010) (Court found widespread, systematic torture of prisoners at Area 2.); People v. Whirl, 2015


                                                51
 Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 52 of 96 PageID #:3163




Il App (1st) 111483, (pervasive evidence that Burge and many of the officers working under him

regularly engaged in physical abuse and torture of suspects.); People v. Tyler, 2015 Il App (1st)

123470, (Court cited appellate decisions, affidavits, complaints, citing instances of torture by

Detective William Moser); Cannon v. Burge, 2006 U.S. Dist. Lexis 4040, 2006 WL 273544, (N.D.

Ill., 2006) (Court references OPS report stating John Byrne racially abused and tortured the

plaintiff in that case.); Cannon v. Burge, 2011 U.S. Dist. Lexis 105715, WL 4361529, (N.D. Ill.

2011) (Court finds Special State’s Attorney’s Report on torture by Burge and offices under his

command ‘offensive, unacceptable, and systematic.’); Hinton v. Uchtman, 395 F.3d 810, 822

(7th Cir. 2005) (Court found torture under the command of Burge had been a regular part of the

system for more than ten years); United States ex rel. Maxwell v. Gilmore, 37 F. Supp. 2d 1078,

1094 (N.D. Ill. 1999) (Court found “It is now common knowledge that in the early to mid-1980’s

Chicago Police Commander Jon Burge and many officers working under him regularly engaged

in the physical abuse and torture to extract confessions.”)

ANSWER:        Defendant Byrne denies all wrongdoing as it relates to his conduct during the

Benjamin/Wash homicide investigation as it relates to Plaintiff and Johnson or to Defendant

Byrne’s conduct during the Benjamin/Wash homicide investigation. For all remaining allegations

contained in this paragraph that are directed toward Defendant Byrne and go beyond Defendant

Byrne's interaction with Plaintiff and Johnson or his conduct during the Benjamin/Wash homicide

investigation, upon advice of counsel, Defendant Byrne invokes his rights guaranteed to him by

the Fifth Amendment of the United States Constitution. Defendant Byrne lacks knowledge or

information sufficient to form a belief as to the truth of the remaining allegations contained in this

paragraph that are not directed toward Defendant Byrne.

98.    Some of these cases specifically name detectives who were responsible for interviewing


                                                 52
 Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 53 of 96 PageID #:3164




James Gibson. People v. Tyler, 2015 Il App (1st) 123470 (torture at the hands of Detective William

Moser); People v. Wrice, 406 Ill. App. 3d 43, (1st Dist. 2010), (torture at the hands of Sergeant

John Byrne); Cannon v. Burge, 2006 U.S. Dist. Lexis 4040, (N.D. Ill. 2006) (torture at the hands

of Sergeant John Byrne); Wiggins v. Burge, 173 F.R.D. 226, (N.D. Ill. 1997) (references torture at

the hand of Detective Anthony Maslanka and Sergeant John Byrne). Report of the Special State’s

Attorney, Edward J. Egan, June 20, 2006, page 290 (recommends the indictment and prosecution

of Detective Athony Maslanka for aggravated battery for torturing a defendant in custody to obtain

a false confession.) Further, in Gibson’s case Jon Burge himself was in command of the officers

accused of torture in this case, and was present at the station when the torture was occurring, and

Mr. Gibson’s sister actually spoke to him.

ANSWER:        Defendant Byrne denies all wrongdoing as it relates to his conduct during the

Benjamin/Wash homicide investigation as it relates to Plaintiff and Johnson or his conduct during

the Benjamin/Wash homicide investigation. For all remaining allegations contained in this

paragraph that are directed toward Defendant Byrne and go beyond Defendant Byrne's interaction

with Plaintiff and Johnson or his conduct during the Benjamin/Wash homicide investigation upon

advice of counsel, Defendant Byrne invokes his rights guaranteed to him by the Fifth Amendment

of the United States Constitution. Defendant Byrne lacks knowledge or information sufficient to

form a belief as to the truth of the remaining allegations contained in this paragraph that are not

directed toward Defendant Byrne.

99.    The torture of crime suspects by Burge and his detectives was so pervasive and consistent

that two (2) official investigations were conducted, and reports were generated on the topic. First,

was the Sanders-Goldston Report followed by the Special State’s Attorney’s Report.

ANSWER:        Defendant Byrne denies all wrongdoing as it relates to his conduct during the


                                                53
 Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 54 of 96 PageID #:3165




Benjamin/Wash homicide investigation as it relates to Plaintiff and Johnson or his conduct during

the Benjamin/Wash homicide investigation. For all remaining allegations contained in this

paragraph that are directed toward Defendant Byrne and go beyond Defendant Byrne's interaction

with Plaintiff and Johnson or his conduct during the Benjamin/Wash homicide investigation, upon

advice of counsel, Defendant Byrne invokes his rights guaranteed to him by the Fifth Amendment

of the United States Constitution. Defendant Byrne lacks knowledge or information sufficient to

form a belief as to the truth of the remaining allegations contained in this paragraph that are not

directed toward Defendant Byrne.

100.   The Special State’s Attorney’s Report was generated by Special State’s Attorney Appellate

Court Justice Edward J. Egan (Ret.). The report’s topic was the depth of the torture claims posited

by crime suspects interrogated at Chicago Police Department Area Two (2) and Three (3) police

stations by Jon Burge and his detectives. In the report, Justice Egan concluded, “we have sufficient

evidence to present to a grand jury and seek the indictment of Detective Anthony Maslanka and

McDermott for aggravated battery, perjury, and obstruction of justice.” Report of the Special

State’s Attorney, Edward J. Egan, June 20, 2006, page 290. Detective Maslanka is one of the

officers in the instant case who tortured Gibson.

ANSWER:        Defendant Byrne denies all wrongdoing as it relates to his conduct during the

Benjamin/Wash homicide investigation as it relates to Plaintiff and Johnson or his conduct during

the Benjamin/Wash homicide investigation. For all remaining allegations contained in this

paragraph that are directed toward Defendant Byrne and go beyond Defendant Byrne's interaction

with Plaintiff and Johnson or his conduct during the Benjamin/Wash homicide investigation, upon

advice of counsel, Defendant Byrne invokes his rights guaranteed to him by the Fifth Amendment

of the United States Constitution. Defendant Byrne lacks knowledge or information sufficient to



                                                54
 Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 55 of 96 PageID #:3166




form a belief as to the truth of the remaining allegations contained in this paragraph that are not

directed toward Defendant Byrne.

101.   The Sanders-Goldston Report was the result of an investigation by Francine Sanders and

Michael Goldston, both investigators for the Chicago Police Department, Office of Professional

Standards. The aim of this report was to “determine if there was systematic abuse at Area 2 during

that period, and if so, to determine culpability, if any, of Area 2 Command Personnel.” Sanders-

Goldston Special Project Conclusion Reports (The Burge Investigation), November 2, 1990.

The report states:

       “In the matter of alleged physical abuse, the preponderance of the evidence is that

       abuse did occur and that it was systematic. The time span involved covers more

       than ten years. The abuse described was not limited to the usual beating, but went

       into such esoteric areas as psychological techniques and planned torture. The

       evidence presented by some individuals convinced juries and appellate courts that

       personnel assigned to Area 2 engaged in methodical abuse.” Id. at 6.

ANSWER:        Defendant Byrne denies all wrongdoing as it relates to his conduct during the

Benjamin/Wash homicide investigation as it relates to Plaintiff and Johnson or his conduct during

the Benjamin/Wash homicide investigation. For all remaining allegations contained in this

paragraph that are directed toward Defendant Byrne and go beyond Defendant Byrne's interaction

with Plaintiff and Johnson or his conduct during the Benjamin/Wash homicide investigation, upon

advice of counsel, Defendant Byrne invokes his rights guaranteed to him by the Fifth Amendment

of the United States Constitution. Defendant Byrne lacks knowledge or information sufficient to

form a belief as to the truth of the remaining allegations contained in this paragraph that are not

directed toward Defendant Byrne.


                                                55
 Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 56 of 96 PageID #:3167




102.   In addition to the case law and reports listed above, the systematic torture by Burge and his

detectives has been recognized as fact by the City of Chicago in an Ordinance and a Resolution.

These documents, in relevant part, state the following:

       “WHEREAS, the City of Chicago acknowledges that former Chicago Police

       Commander Jon Burge and detectives under his command systematically engaged

       in acts of torture, physical abuse and coercion of African American men and women

       at Area 2 and 3 Police Headquarters from 1972 through 1991….” City of Chicago

       Reperations Ordinance: Reparations for the Chicago Police Torture Survivors,

       2015.

       “BE IT RESOLVED, That we, the Mayor and Members of the City Counsel of the

       City of Chicago, on behalf of all Chicagoans – (1) acknowledge and condemn, as

       evil and reprehensible, any and all acts of torture and abuse inflicted upon the Burge

       victims…” City of Chicago Resolution, 2015.

ANSWER:        Defendant Byrne denies all wrongdoing as it relates to his conduct during the

Benjamin/Wash homicide investigation as it relates to Plaintiff and Johnson or his conduct during

the Benjamin/Wash homicide investigation. For all remaining allegations contained in this

paragraph that are directed toward Defendant Byrne and go beyond Defendant Byrne's interaction

with Plaintiff and Johnson or his conduct during the Benjamin/Wash homicide investigation, upon

advice of counsel, Defendant Byrne invokes his rights guaranteed to him by the Fifth Amendment

of the United States Constitution. Defendant Byrne lacks knowledge or information sufficient to

form a belief as to the truth of the remaining allegations contained in this paragraph that are not

directed toward Defendant Byrne.

103.   Burge and the officers working under supervision, his “Midnight Crew” or “A Team” (“A”


                                                56
  Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 57 of 96 PageID #:3168




for Ass Kicking), were allowed to develop and continue their practice of torturing suspects into

false confessions because the City of Chicago, as a matter of policy and practice, had a disciplinary

systems for its police officers which, according to the 2017 Justice Department Report, failed to

investigate reports of violence and coercion against suspects and witnesses. In the rare instances

when investigations were conducted, the questioning of officers is aimed at eliciting information

favorable to the officer, and investigators do not confront officers with inconsistent physical

evidence. From prior to the time of Gibson’s torture, through at least 2017, the Chicago Police

Department disciplinary system was geared toward clearing officers of charges of misconduct

rather than disciplining misconduct.

ANSWER:         Defendant Byrne denies all wrongdoing as it relates to his conduct during the

Benjamin/Wash homicide investigation as it relates to Plaintiff and Johnson or his conduct during

the Benjamin/Wash homicide investigation. For all remaining allegations contained in this

paragraph that are directed toward Defendant Byrne and go beyond Defendant Byrne's interaction

with Plaintiff and Johnson or his conduct during the Benjamin/Wash homicide investigation, upon

advice of counsel, Defendant Byrne invokes his rights guaranteed to him by the Fifth Amendment

of the United States Constitution. Defendant Byrne lacks knowledge or information sufficient to

form a belief as to the truth of the remaining allegations contained in this paragraph that are not

directed toward Defendant Byrne.

104.    At the time of the Gibson’s arrest and subsequent trial, the Mayor of the City of Chicago

was Richard M. Daley and the Superintendent of Police was LeRoy Martin Sr. These policy

makers, and those in policy making positions under them, allowed this practice of torture and

coercion by Burge and those under his supervision to continue unabated by knowingly allowing

this inadequate disciplinary system to stay in place despite the fact that it violated the constitutional


                                                   57
 Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 58 of 96 PageID #:3169




rights of the accused. As a result of this, to date, other than Jon Burge, no Chicago police officer

who has tortured and coerced suspects and witnesses into making false confessions and statements

has been disciplined or prosecuted even though there have been dozens of exonerations of people

who have served long prison sentences for crimes they did not commit because of coerced

confessions and statements. Jon Burge was not prosecuted until 2010, long after Gibson had been

victimized by Burge and his “Midnight Crew”.

ANSWER:        Defendant Byrne denies all wrongdoing as it relates to his conduct during the

Benjamin/Wash homicide investigation as it relates to Plaintiff and Johnson or his conduct during

the Benjamin/Wash homicide investigation. For all remaining allegations contained in this

paragraph that are directed toward Defendant Byrne and go beyond Defendant Byrne's interaction

with Plaintiff and Johnson or his conduct during the Benjamin/Wash homicide investigation, upon

advice of counsel, Defendant Byrne invokes his rights guaranteed to him by the Fifth Amendment

of the United States Constitution. Defendant Byrne lacks knowledge or information sufficient to

form a belief as to the truth of the remaining allegations contained in this paragraph that are not

directed toward Defendant Byrne.

105.   This resulted in a de facto policy in the City of Chicago of allowing police officers in

general, and the Defendant Officers in particular, to believe they were immune from discipline and

prosecution if they “solved” crimes by torturing suspects into false confessions and statements, and

intimidated and coerced witnesses into making false statements to corroborate the false

confessions. Because of this de facto policy the Defendant Officers “solved” cases for which they

had no evidence of who committed the crime, by torturing suspects into false confessions and

statements.




                                                58
 Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 59 of 96 PageID #:3170




ANSWER:        Defendant Byrne denies all wrongdoing as it relates to his conduct during the

Benjamin/Wash homicide investigation as it relates to Plaintiff and Johnson or his conduct during

the Benjamin/Wash homicide investigation. For all remaining allegations contained in this

paragraph that are directed toward Defendant Byrne and go beyond Defendant Byrne's interaction

with Plaintiff and Johnson or his conduct during the Benjamin/Wash homicide investigation, upon

advice of counsel, Defendant Byrne invokes his rights guaranteed to him by the Fifth Amendment

of the United States Constitution. Defendant Byrne lacks knowledge or information sufficient to

form a belief as to the truth of the remaining allegations contained in this paragraph that are not

directed toward Defendant Byrne.

106.   This de facto policy and practice was implemented in Gibson’s case in that even though

Gibson made a complaint within hours of being tortured, the only investigation was done was to

take the accused officers written denials, after which all the officers were cleared of any

wrongdoing.

ANSWER:        Defendant Byrne denies all wrongdoing as it relates to his conduct during the

Benjamin/Wash homicide investigation as it relates to Plaintiff and Johnson or his conduct during

the Benjamin/Wash homicide investigation. For all remaining allegations contained in this

paragraph that are directed toward Defendant Byrne and go beyond Defendant Byrne's interaction

with Plaintiff and Johnson or his conduct during the Benjamin/Wash homicide investigation, upon

advice of counsel, Defendant Byrne invokes his rights guaranteed to him by the Fifth Amendment

of the United States Constitution. Defendant Byrne lacks knowledge or information sufficient to

form a belief as to the truth of the remaining allegations contained in this paragraph that are not

directed toward Defendant Byrne.

107.   The Mayor of the City of Chicago, Rahm Emanuel, stated in a speech to the City Council

                                                59
 Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 60 of 96 PageID #:3171




on December 9, 2015, that a blue wall of silence existed and had existed for some time, which

allowed Chicago police officers to violate the rights of citizens with impunity and without fear of

discipline or prosecution.

ANSWER:        Defendant Byrne denies all wrongdoing as it relates to his conduct during the

Benjamin/Wash homicide investigation as it relates to Plaintiff and Johnson or his conduct during

the Benjamin/Wash homicide investigation. For all remaining allegations contained in this

paragraph that are directed toward Defendant Byrne and go beyond Defendant Byrne's interaction

with Plaintiff and Johnson or his conduct during the Benjamin/Wash homicide investigation, upon

advice of counsel, Defendant Byrne invokes his rights guaranteed to him by the Fifth Amendment

of the United States Constitution. Defendant Byrne lacks knowledge or information sufficient to

form a belief as to the truth of the remaining allegations contained in this paragraph that are not

directed toward Defendant Byrne.

108.   Information regarding the de facto policy of immunity for police officers was hidden and

suppressed by the City of Chicago, such as the September 1990 report of Office of Professional

Standards (“OPS”) investigator Michael Goldston. This “Goldston Report” concluded that there

was a “systematic” and methodical” pattern and practice of abuse and torture of suspects by

Chicago Police officers since at least 1980 and continuing through the date of the report. This

report was suppressed and kept secret by Superintendent Martin until it was unsealed, over

Superintendent Martin’s objection, in 1992. During the time that the Goldston Report was being

suppressed, which was during the time when Gibson was being prosecuted based on a statement

made under torture, nothing was done by then Mayor Daley or then Superintendent Martin to

discipline the officers who were the subject of the report.




                                                 60
 Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 61 of 96 PageID #:3172




ANSWER:        Defendant Byrne denies all wrongdoing as it relates to his conduct during the

Benjamin/Wash homicide investigation as it relates to Plaintiff and Johnson or his conduct during

the Benjamin/Wash homicide investigation. For all remaining allegations contained in this

paragraph that are directed toward Defendant Byrne and go beyond Defendant Byrne's interaction

with Plaintiff and Johnson or his conduct during the Benjamin/Wash homicide investigation, upon

advice of counsel, Defendant Byrne invokes his rights guaranteed to him by the Fifth Amendment

of the United States Constitution. Defendant Byrne lacks knowledge or information sufficient to

form a belief as to the truth of the remaining allegations contained in this paragraph that are not

directed toward Defendant Byrne.

109.   Also, in 1987 Chief Administrator of OPS, David Fogel, issued a memo that admitted that

the disciplinary system of the Chicago Police Department was a farce, and that it immunizes the

police from discipline and institutionalized lying. This memo was also kept secret and suppressed

by Superintendent of Police.

ANSWER:        Defendant Byrne denies all wrongdoing as it relates to his conduct during the

Benjamin/Wash homicide investigation as it relates to Plaintiff and Johnson or his conduct during

the Benjamin/Wash homicide investigation. For all remaining allegations contained in this

paragraph that are directed toward Defendant Byrne and go beyond Defendant Byrne's interaction

with Plaintiff and Johnson or his conduct during the Benjamin/Wash homicide investigation, upon

advice of counsel, Defendant Byrne invokes his rights guaranteed to him by the Fifth Amendment

of the United States Constitution. Defendant Byrne lacks knowledge or information sufficient to

form a belief as to the truth of the remaining allegations contained in this paragraph that are not

directed toward Defendant Byrne.

110.   This suppression of information about torture by police officers, including the Defendant

                                                61
 Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 62 of 96 PageID #:3173




Officers, and reinforced to the Defendant Officers that they were immune from discipline and

accountability for torturing suspects.

ANSWER:        Defendant Byrne denies all wrongdoing as it relates to his conduct during the

Benjamin/Wash homicide investigation as it relates to Plaintiff and Johnson or his conduct during

the Benjamin/Wash homicide investigation. For all remaining allegations contained in this

paragraph that are directed toward Defendant Byrne and go beyond Defendant Byrne's interaction

with Plaintiff and Johnson or his conduct during the Benjamin/Wash homicide investigation, upon

advice of counsel, Defendant Byrne invokes his rights guaranteed to him by the Fifth Amendment

of the United States Constitution. Defendant Byrne lacks knowledge or information sufficient to

form a belief as to the truth of the remaining allegations contained in this paragraph that are not

directed toward Defendant Byrne.

                                     Effects on James Gibson

111.   James Gibson was deprived of the enjoyment of thirty (30) years of his life. He was locked

up in jail and prison from December 31, 1989 through April 18, 2019, (twenty-nine (29) years and

four (4) months), from ages 23 to 53.

ANSWER:        Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and denies such conduct occurred in his presence and, therefore, denies the

remaining allegations contained in this paragraph.

112.   James Gibson has spent virtually his entire adult life living in a tiny cold cell under the

tightest security imaginable and all of the indignities/inhumanity that entails, all under the specter

of an unjust life sentence for a crime he did not commit. When he was arrested Gibson had two

(2) children, a son and a daughter. He was in prison when his mother and his son died, and he was

                                                 62
 Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 63 of 96 PageID #:3174




not able to go to their funerals or visit their graves. He was deprived of being able to raise his

children, to have the pleasure of being with them, or to have contact with his grandchildren and enjoy

their company.

ANSWER:          Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, denies Plaintiff did not commit the crime for which he was imprisoned, and denies

such conduct occurred in his presence and, therefore, denies the remaining allegations contained

in this paragraph.

113.   Gibson suffers from post-traumatic stress disorder, and has been psychologically damaged

so badly that while he can be treated, he will never be cured. Gibson, who is heterosexual, was

deprived of having a sexual relationship with a woman. He was deprived of the opportunity to have

a wife or female companion to share his life with. He was unable to enjoy having a job, a career,

or to do any of the normal or things that are taken for granted by people not in a maximum security

prison. He could not use the toilet in private, take a bath, or eat and drink what he wanted to. He

had to endure eating food that was of substandard quality, or even having a drink of cold water.

He had to sleep on a thin filthy mattress than less than two inches thick, with no sheets and a dirty

blanket. He suffered the indignity of having to ask permission to make a telephone call, go outside,

or choose his own bedtime or time to wake up.

ANSWER:          Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and denies such conduct occurred in his presence and, therefore, denies the

remaining allegations contained in this paragraph.

114.   Before his arrest at age 23 in the manner described above in this Complaint, Gibson had



                                                 63
 Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 64 of 96 PageID #:3175




no criminal record other than a conviction for which he was sentenced to two days in jail. The

Defendants framed him for a double murder knowing that he did not commit it. As a result of being

railroaded in this manner, and then being deprived unjustly of exculpatory materials, Mr. Gibson

has spent his entire adult life in prison, the majority of it in maximum security at the states toughest

prisons. This treatment is extraordinarily unjust, and must be remedied in the only manner which

it can be, by the payment of a very substantial sum of money.

ANSWER:        Defendant Byrne denies, upon information and belief, that Plaintiff had no criminal

record other than a conviction for which he was sentenced to two days in jail. Defendant Byrne

denies the allegations in this paragraph directed at Defendant Byrne, denies all wrongdoing as it

relates to his conduct during the Benjamin/Wash homicide investigation, and denies such conduct

occurred in his presence and, therefore, denies the remaining allegations contained in this

paragraph.

                                          COUNT I
                             (Coerced Confession – 42 U.S.C §1983)

115.   Plaintiff re-alleges paragraphs one (1) through one-hundred-twelve (112) of this

Complaint as paragraph one-hundred-thirteen (113) of Count I of this Complaint. [sic]

ANSWER:        Defendant Byrne incorporates all answers to all paragraphs of this Complaint as

though fully set forth herein.

116.   As more fully described above, Defendant Officers Collins, O’Mara, Malasanka, and

Paladino beat, kicked, and tortured Gibson in order to get him to make his incriminating statement.

ANSWER:        Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and denies such conduct occurred in his presence and, therefore, denies the

remaining allegations contained in this paragraph.

                                                  64
 Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 65 of 96 PageID #:3176




117.   As more fully described above, Defendant Officers Defendant Officers Maslanka, Moser,

Byrne, Caesar, Paladino, Leja, Rusnak, Breska, McCann, Collins, and O’Mara, held Gibson

without probable cause for over 92 hours while not allowing him to sleep, eat or use the toilet, in

order to coerce him into making an incriminating statement.

ANSWER:        Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and denies such conduct occurred in his presence and, therefore, denies the

remaining allegations contained in this paragraph.

118.   As more fully described above, Defendant Officers Defendant Officers Maslanka, Moser,

Byrne, Caesar, Paladino, Leja, Rusnak, Breska, McCann, Collins, O’Mara and Burge withheld and

concealed exculpatory evidence that would have shown that Gibson was innocent of murdering

Benjamin and Wash.

ANSWER:        Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and denies such conduct occurred in his presence and, therefore, denies the

remaining allegations contained in this paragraph.

119.   As more fully described above, Defendant Officers Defendant Officers Maslanka, Moser,

Byrne, Caesar, Paladino, Leja, Rusnak, Breska, McCann, Collins, O’Mara and Burge decided that,

pursuant to the de facto policy of the City of Chicago Police Department, they would torture Gibson

into making a confession or statement which they could use to convict him for the Benajmin/Wash

murders even though there was absolutely no evidence that he had committed that crime.

ANSWER:        Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide



                                                65
 Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 66 of 96 PageID #:3177




investigation, and denies such conduct occurred in his presence and, therefore, denies the

remaining allegations contained in this paragraph.

120.   As more fully described above, Defendant Officers Defendant Officers Maslanka, Moser,

Byrne, Caesar, Paladino, Leja, Rusnak, Breska, McCann, Collins, and O’Mara believed that they

could torture and coerce Gibson into making an incriminating statement, and conceal exculpatory

evidence, they were immune from discipline and prosecution if they “solved” crimes by torturing

suspects into false confessions and statements because of the de facto policy and practice of the

Police Department of the City of Chicago of not disciplining officers for committing these offenses.

ANSWER:        Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and denies such conduct occurred in his presence and, therefore, denies the

remaining allegations contained in this paragraph.

121.   As more fully described above, Defendant Officers Defendant Officers Maslanka, Moser,

Byrne, Caesar, Paladino, Leja, Rusnak, Breska, McCann, Collins, and O’Mara violated the

constitutional rights of Gibson.

ANSWER:        Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and denies such conduct occurred in his presence and, therefore, denies the

remaining allegations contained in this paragraph.

122.   The forgoing misconduct described in this Count was undertaken with malice, willfulness,

and reckless indifference to the rights of Gibson and others.

ANSWER:        Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide



                                                66
 Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 67 of 96 PageID #:3178




investigation, and denies such conduct occurred in his presence and, therefore, denies the

remaining allegations contained in this paragraph.

123.   As more fully described above the constitutional injuries complained-of herein were

proximately caused by a pattern and practice of misconduct which occurred with Defendants Burge

and Martin's knowledge and consent in their supervisory capacity, such that Burge and Martin

personally knew about, facilitated, approved, and condoned this pattern and practice of

misconduct, or else affirmatively turned a blind eye thereto without taking any steps to stop it.

ANSWER:        Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and denies such conduct occurred in his presence and, therefore, denies the

remaining allegations contained in this paragraph.

124.   In this way, Defendants Burge and Martin are personally responsible for the complained-

of injuries because they knowingly, willfully, or at least recklessly caused the alleged deprivation

by their action or by their deliberately indifferent failure to act. Independently, Defendant Burge

is a supervisor who failed to stop misfeasor officers under his direction who had summarily tortured

Plaintiff despite his knowledge of the same.

ANSWER:        Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and denies such conduct occurred in his presence and, therefore, denies the

remaining allegations contained in this paragraph.

125.   As more fully described above the forgoing violated Gibson’s rights under the Constitution

of the United States of America, including the First, Fourth, Fifth, Sixth, Eighth and Fourteenth

Amendments to the Constitution of the United States of America.



                                                 67
 Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 68 of 96 PageID #:3179




ANSWER:        Pursuant to the Court’s ruling on the motions to dismiss (Docket No. 116),

Plaintiffs’ claims under the First, Fourth, Sixth, and Eighth Amendments have been dismissed.

Defendant Byrne denies the allegations in this paragraph directed at Defendant Byrne, denies all

wrongdoing as it relates to his conduct during the Benjamin/Wash homicide investigation, and

denies such conduct occurred in his presence and, therefore, denies the remaining allegations

contained in this paragraph.

                                              COUNT II
                               (Failure to Intervene – 42 U.S.C §1983)

126.   Plaintiff re-alleges paragraphs one (1) through one-hundred-twelve (112) of this Complaint

as paragraph one-hundred-twenty-four (124) of Count II of this Complaint. [sic]

ANSWER:        Defendant Byrne incorporates all answers to all paragraphs of this Complaint as

though fully set forth herein.

127.   In the manner described above, during the coercive interrogation of Gibson Defendants

Officers Maslanka, Moser, Byrne, Caesar, Paladino, Leja, Rusnak, Breska, McCann, Collins,

O’Mara, and Burge (and possibly other Chicago Police Officers) stood by without intervening to

prevent the violence to which Plaintiff was subjected.

ANSWER:        Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and denies such conduct occurred in his presence and, therefore, denies the

remaining allegations contained in this paragraph.

128.   As more fully described above the Defendant Officers who had knowledge of the coercive

interrogation and therefore had a reasonable opportunity to intervene included Defendants

Maslanka, Moser, Byrne, Caesar, Paladino, Leja, Rusnak, Breska, McCann, Collins, O’Mara,

Burge, all acting independently, jointly, and in conspiracy.

                                                 68
 Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 69 of 96 PageID #:3180




ANSWER:        Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and denies such conduct occurred in his presence and, therefore, denies the

remaining allegations contained in this paragraph.

129.   As more fully described above, as a result of the Defendant Officers' failure to intervene to

prevent the violation of Plaintiff's constitutional rights, Plaintiff suffered wrongful imprisonment,

deprivation of the enjoyment 30 years of his life, pain and injury, as well as emotional distress.

These Defendants had a reasonable opportunity to prevent this harm, but failed to do so.

ANSWER:        Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and denies such conduct occurred in his presence and, therefore, denies the

remaining allegations contained in this paragraph.

130.   As more fully described above, as a result of the Defendant Officers' failure to intervene to

prevent the violation of Plaintiff's constitutional rights, Plaintiff suffered wrongful imprisonment,

deprivation of the enjoyment 30 years of his life, pain and injury, as well as emotional distress.

These Defendants had a reasonable opportunity to prevent this harm, but failed to do so.

ANSWER:        Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and denies such conduct occurred in his presence and, therefore, denies the

remaining allegations contained in this paragraph.

131.   As more fully described above the misconduct described in this Count was objectively

unreasonable and was undertaken intentionally with willful indifference to Gibson’s constitutional

rights.dd Gibson’s rights under the Constitution of the United States of America, including the



                                                 69
 Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 70 of 96 PageID #:3181




First, Fourth, Fifth, Sixth, Eighth and Fourteenth Amendments to the Constitution of the United

States of America.

ANSWER:        Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and denies such conduct occurred in his presence and, therefore, denies the

remaining allegations contained in this paragraph.

132.   As more fully described above the misconduct described in this Count was undertaken

pursuant to Chicago's policy and practice in the manner described in preceding paragraphs.

ANSWER:        Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and denies such conduct occurred in his presence and, therefore, denies the

remaining allegations contained in this paragraph.

                                          COUNT III
                          (Violation of Due Process – 42 U.S.C §1983)

133.   Plaintiff re-alleges paragraphs one (1) through one-hundred-twelve (112) of this Complaint

as paragraph one-hundred-thirty-one (131) of Count III of this Complaint.

ANSWER:        Defendant Byrne incorporates all answers to all paragraphs of this Complaint as

though fully set forth herein.

134.   As described more fully above, Defendant Officers Maslanka, Moser, Byrne, Caesar,

Paladino, Leja, Rusnak, Breska, McCann, Collins, O’Mara, and Burge, all while acting

individually, jointly, and in conspiracy, as well as under color of law and within the scope of their

employment, deprived Plaintiff of his constitutional right to a fair trial.

ANSWER:        Pursuant to the Court’s ruling on the motions to dismiss (Docket No. 116), this

claim is permitted to proceed only against identified defendant officers on specified theories of

                                                  70
  Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 71 of 96 PageID #:3182




liability. Defendant Byrne denies the allegations in this paragraph directed at Defendant Byrne,

denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and denies such conduct occurred in his presence and, therefore, denies the

remaining allegations contained in this paragraph.

135.    In the manner described more fully above, the Defendant Officers deliberately withheld

exculpatory evidence, as well as fabricated false reports and other evidence, thereby misleading

and misdirecting the state criminal prosecution of the Plaintiff. Absent this misconduct, the

prosecution of Plaintiff could not and would not have been pursued.

ANSWER:         Pursuant to the Court’s ruling on the motions to dismiss (Docket No. 116), this

claim is permitted to proceed only against identified defendant officers on specified theories of

liability. Defendant Byrne denies the allegations in this paragraph directed at Defendant Byrne,

denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and denies such conduct occurred in his presence and, therefore, denies the

remaining allegations contained in this paragraph.

136.    The misconduct of the Defendant Officers also resulted in the unjust criminal conviction

of Plaintiff, thereby denying him his Constitutional right to a fair trial (and a fair appeal thereof) in

violation of the Due Process Clause of the Fourteenth Amendment of the United States

Constitution.

ANSWER:         Pursuant to the Court’s ruling on the motions to dismiss (Docket No. 116), this

claim is permitted to proceed only against identified defendant officers on specified theories of

liability. Defendant Byrne denies the allegations in this paragraph directed at Defendant Byrne,

denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and denies such conduct occurred in his presence and, therefore, denies the



                                                   71
  Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 72 of 96 PageID #:3183




remaining allegations contained in this paragraph.

137.    As a result of the violation of his constitutional right to fair trial, Plaintiff suffered injuries,

including but not limited to loss of freedom and emotional distress.

ANSWER:         Pursuant to the Court’s ruling on the motions to dismiss (Docket No. 116), this

claim is permitted to proceed only against identified defendant officers on specified theories of

liability. Defendant Byrne denies the allegations in this paragraph directed at Defendant Byrne,

denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and denies such conduct occurred in his presence and, therefore, denies the

remaining allegations contained in this paragraph.

138.    The misconduct described in this Count was objectively unreasonable and was undertaken

intentionally with willful indifference to Plaintiff's constitutional rights.

ANSWER:         Pursuant to the Court’s ruling on the motions to dismiss (Docket No. 116), this

claim is permitted to proceed only against identified defendant officers on specified theories of

liability. Defendant Byrne denies the allegations in this paragraph directed at Defendant Byrne,

denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and denies such conduct occurred in his presence and, therefore, denies the

remaining allegations contained in this paragraph.

139.    The misconduct described in this Count was undertaken pursuant to the policy and practice

of the Chicago Police Department in the manner described more fully above.

ANSWER:         Pursuant to the Court’s ruling on the motions to dismiss (Docket No. 116), this

claim is permitted to proceed only against identified defendant officers on specified theories of

liability. Defendant Byrne denies the allegations in this paragraph directed at Defendant Byrne,

denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide



                                                    72
 Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 73 of 96 PageID #:3184




investigation, and denies such conduct occurred in his presence and, therefore, denies the

remaining allegations contained in this paragraph.

140.   Independently, the misconduct described in this Count is also attributable to Defendants

Burge in his supervisory capacities as described more fully above.

ANSWER:        Pursuant to the Court’s ruling on the motions to dismiss (Docket No. 116), this

claim is permitted to proceed only against identified defendant officers on specified theories of

liability. Defendant Byrne denies the allegations in this paragraph directed at Defendant Byrne,

denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and denies such conduct occurred in his presence and, therefore, denies the

remaining allegations contained in this paragraph.

                                          COUNT IV
                             (False Imprisonment – 42 U.S.C §1983)

141.             Plaintiff re-alleges paragraphs one (1) through one-hundred-twelve (112) of this

Complaint as paragraph one-hundred-thirty-nine (139) of Count IV of this Complaint. [sic]

ANSWER:          Defendant Byrne incorporates all answers to all paragraphs of this Complaint as

though fully set forth herein.

142.   As described more fully above, Defendant Officers Maslanka, Moser, Byrne, Caesar,

Paladino, Leja, Rusnak, Breska, McCann, Collins, O’Mara, and Burge all while acting

individually, jointly, and in conspiracy, as well as under color of law and within the scope of their

employment, caused Plaintiff to be falsely imprisoned in violation of his Constitutional rights.

ANSWER:        Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and denies such conduct occurred in his presence and, therefore, denies the

remaining allegations contained in this paragraph.

                                                 73
  Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 74 of 96 PageID #:3185




143.    As a result of this violation, Plaintiff suffered injuries, including but not limited to false

imprisonment for thirty (30) years and emotional distress.

ANSWER:         Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and denies such conduct occurred in his presence and, therefore, denies the

remaining allegations contained in this paragraph.

144.    The misconduct described in this Count was objectively unreasonable and was undertaken

intentionally with willful indifference to Plaintiff's constitutional rights.

ANSWER:         Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and denies such conduct occurred in his presence and, therefore, denies the

remaining allegations contained in this paragraph.

145.    The misconduct described in this Count was undertaken pursuant to the policy and practice

of the Chicago Police Department in the manner described more fully above.

ANSWER:         Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and denies such conduct occurred in his presence and, therefore, denies the

remaining allegations contained in this paragraph.

146.    Independently, the misconduct described in this Count is also attributable to Defendant

Burge in his supervisory capacities in the manner described more fully in the Counts alleging

conspiracy.

ANSWER:         Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide



                                                   74
 Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 75 of 96 PageID #:3186




investigation, and denies such conduct occurred in his presence and, therefore, denies the

remaining allegations contained in this paragraph.

                                             COUNT V
                                 (Equal Protection – 42 U.S.C §1983)

147.             Plaintiff re-alleges paragraphs one (1) through one-hundred-twelve (112) of this

Complaint as paragraph one-hundred-forty-five (145) of Count V of this Complaint. [sic]

ANSWER:          Defendant Byrne incorporates all answers to all paragraphs of this Complaint as

though fully set forth herein.

148.   As described more fully above, Defendant Officers Maslanka, Moser, Byrne, Caesar,

Paladino, Leja, Rusnak, Breska, McCann, Collins, O’Mara, and Burge, all while acting

individually, jointly, and in conspiracy, as well as under color of law and within the scope of their

employment, denied Plaintiff equal protection of the law in violation of his Constitutional rights.

ANSWER:        Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and denies such conduct occurred in his presence and, therefore, denies the

remaining allegations contained in this paragraph.

149.   Specifically, these Defendants actively participated in or personally caused misconduct

in terms of torturing minority criminal suspects in a manner calculated to coerce confessions. Said

misconduct was motivated by racial animus and constituted purposeful discrimination; it also

affected minorities in a grossly disproportionate manner vis-avis similarly- situated Caucasian

individuals.

ANSWER:        Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and denies such conduct occurred in his presence and, therefore, denies the

                                                 75
  Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 76 of 96 PageID #:3187




remaining allegations contained in this paragraph.

150.    As a result of this violation, Plaintiff suffered injuries, including but not limited to wrongful

imprisonment and emotional distress.

ANSWER:         Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and denies such conduct occurred in his presence and, therefore, denies the

remaining allegations contained in this paragraph.

151.    The misconduct described in this Count was objectively unreasonable and was undertaken

intentionally with willful indifference to Plaintiff's constitutional rights.

ANSWER:         Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and denies such conduct occurred in his presence and, therefore, denies the

remaining allegations contained in this paragraph.

152.    The misconduct described in this Count was undertaken pursuant to the policy and practice

of the Chicago Police Department in the manner described more fully above.

ANSWER:         Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and denies such conduct occurred in his presence and, therefore, denies the

remaining allegations contained in this paragraph.

153.    Independently, the misconduct described in this Count is also attributable to Defendant

Burge in his supervisory capacities as described more fully in the Counts alleging conspiracy.

ANSWER:         Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide



                                                   76
  Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 77 of 96 PageID #:3188




investigation, and denies such conduct occurred in his presence and, therefore, denies the

remaining allegations contained in this paragraph.

                                           COUNT VI
                               (Right to Counsel – 42 U.S.C §1983)

Pursuant to the Court’s ruling on the motions to dismiss (Docket No. 116), this claim has

been dismissed so no answer is required. To the extent an answer is required to the

allegations, Defendant Byrne denies the allegations in these paragraphs directed at

Defendant Byrne, denies all wrongdoing as it relates to his conduct during the

Benjamin/Wash homicide investigation, and denies such conduct occurred in his presence

and, therefore, denies the remaining allegations contained in these paragraphs.

154.    Plaintiff re-alleges paragraphs one (1) through one-hundred-twelve (112) of this Complaint

as paragraph one-hundred-fifty-two (152) of Count VI of this Complaint. [sic]

155.    As described more fully above, Defendant Officers Maslanka, Moser, Byrne, Caesar,

Paladino, Leja, Rusnak, Breska, McCann, Collins, O’Mara, and Burge, all while acting

individually, jointly, and in conspiracy, as well as under color of law and within the scope of their

employment, denied Plaintiff his right to counsel in violation of his Constitutional rights.

156.    This violation caused the confession on which his conviction was predicated, and this

allegation therefore necessarily implies the invalidity of that conviction.

157.    As a result of this violation, Plaintiff suffered injuries, including but not limited to

imprisonment and emotional distress.

158.    The misconduct described in this Count was objectively unreasonable and was undertaken

intentionally with willful indifference to Plaintiff's constitutional rights.

159.    The misconduct described in this Count was undertaken pursuant to the policy and practice

of the Chicago Police Department in the manner described more fully above.

                                                   77
  Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 78 of 96 PageID #:3189




160.    Independently, the misconduct described in this Count is also attributable to Defendant

Burge in their supervisory capacities as described more in the Counts alleging conspiracy.

                                        COUNT VII
                (Conspiracy to Deprive Constitutional Rights – 42 U.S.C §1983)

161.    Plaintiff re-alleges paragraphs one (1) through one-hundred-twelve (112) of this Complaint

as paragraph one-hundred-fifty-nine (159) of Count VII of this Complaint. [sic]

ANSWER:         Defendant Byrne incorporates all answers to all paragraphs of this Complaint as

though fully set forth herein.

162.    Prior to date of the constitutional injuries suffered by Plaintiff in this case, it was agreed

among the police officer Defendants, on the one hand, and the individuals who comprise the

Office of Professional Standards on the other hand, that if any members of the Chicago Police

Department were subsequently accused by citizens of wrongdoing, then the O.P.S. employees

would actively endeavor to deem those citizen complaints unfounded or unsustained, even where

police officers in fact violated citizens' rights.

ANSWER:           Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and denies such conduct occurred in his presence and, therefore, denies the

remaining allegations contained in this paragraph.

163.    The Agreement referenced in the preceding paragraph is the policy and practice of the

Chicago Police Department, and was tacitly ratified by policy-makers for the City of Chicago with

final policymaking authority.

ANSWER:           Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and denies such conduct occurred in his presence and, therefore, denies the

                                                     78
 Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 79 of 96 PageID #:3190




remaining allegations contained in this paragraph.

164.   As a direct and proximate result of the illicit prior Agreement referenced above, Plaintiff's

rights were violated.

ANSWER:        Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and denies such conduct occurred in his presence and, therefore, denies the

remaining allegations contained in this paragraph.

165.   Specifically, Plaintiff was convicted based on a coerced confession as a direct result of the

Agreement with O.P.S. employees to decline to sustain citizen complaints even where meritorious.

Because of this Agreement, the Defendant Officers were encouraged to believe they could act with

a sense of impunity and without fear of any repercussions, even where they purposefully violated

the rights of the citizens they were supposed to protect. In this manner, the alleged Agreement

proximately caused Plaintiff's injuries in this case.

ANSWER:        Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and denies such conduct occurred in his presence and, therefore, denies the

remaining allegations contained in this paragraph.

166.   Independently, after the murder at issue in Plaintiff's case, the Defendant Officers further

conspired, and continue to conspire, to frame Plaintiff for this murder and to thereby deprive

Plaintiff of his constitutional rights as described in the various Paragraphs of this Complaint.

ANSWER:        Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and denies such conduct occurred in his presence and, therefore, denies the



                                                  79
 Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 80 of 96 PageID #:3191




remaining allegations contained in this paragraph.

167.   Independently, before and after Plaintiff's conviction, each of the Defendants further

conspired, and continue to conspire, to deprive Plaintiff of exculpatory materials to which he was

lawfully entitled and which would have led to his exonerated of the false charges as described in

the various Paragraphs of this Complaint.

ANSWER:        Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and denies such conduct occurred in his presence and, therefore, denies the

remaining allegations contained in this paragraph.

168.   In this manner, the Defendant Officers, acting in concert with other unknown co-

conspirators, including persons who are not members of the Chicago Police Department, have

conspired by concerted action to accomplish an unlawful purpose by an unlawful means.

ANSWER:        Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and denies such conduct occurred in his presence and, therefore, denies the

remaining allegations contained in this paragraph.

169.   In furtherance of the conspiracy, each of the co-conspirators committed overt acts and was

an otherwise willful participant in joint activity.

ANSWER:        Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and denies such conduct occurred in his presence and, therefore, denies the

remaining allegations contained in this paragraph.

170.   The misconduct described in this Count was undertaken with malice, willfulness, and



                                                  80
 Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 81 of 96 PageID #:3192




reckless indifference to the rights of others.

ANSWER:        Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and denies such conduct occurred in his presence and, therefore, denies the

remaining allegations contained in this paragraph.

171.   As a proximate result of the conspiracy, Plaintiff suffered financial damage, as well as

severe emotional distress and anguish.

ANSWER:        Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and denies such conduct occurred in his presence and, therefore, denies the

remaining allegations contained in this paragraph.

172.   This conspiracy was undertaken for the additional purpose of punishing Plaintiff for

exercising his First Amendment right to speak out about matters of public concern, namely, the

police abuses described above.

ANSWER:        Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and denies such conduct occurred in his presence and, therefore, denies the

remaining allegations contained in this paragraph.

173.   The misconduct described in this Count was undertaken pursuant to the policy and practice

of the Chicago Police Department in the manner described more fully in preceding paragraphs.

ANSWER:        Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and denies such conduct occurred in his presence and, therefore, denies the



                                                 81
  Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 82 of 96 PageID #:3193




remaining allegations contained in this paragraph.


                                       COUNT VIII
              (Conspiracy to Deprive Constitutional Rights – 42 U.S.C §1985(3))

174.    Plaintiff re-alleges paragraphs one (1) through one-hundred-twelve (112) of this Complaint

as paragraph one-hundred-seventy-two (172) of Count VIII of this Complaint. [sic]

ANSWER:        Defendant Byrne incorporates all answers to all paragraphs of this Complaint as

though fully set forth herein.

175.    As described more fully above, each of the Defendants conspired, directly or indirectly, for

the purpose of depriving Plaintiff of Equal Protection of the law.

ANSWER:        Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and denies such conduct occurred in his presence and, therefore, denies the

remaining allegations contained in this paragraph.

176.    In so doing, Defendants took actions in furtherance of this conspiracy, causing injury to

Plaintiff.

ANSWER:        Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and denies such conduct occurred in his presence and, therefore, denies the

remaining allegations contained in this paragraph.

177.    The misconduct described in this Count was undertaken with malice, willfulness, and

reckless indifference to the rights of others.

ANSWER:        Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and denies such conduct occurred in his presence and, therefore, denies the

                                                 82
 Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 83 of 96 PageID #:3194




remaining allegations contained in this paragraph.

178.   The misconduct described in this Count was undertaken pursuant to the policy and practice

of the Chicago Police Department in the manner described more fully in preceding paragraphs.

ANSWER:        Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and denies such conduct occurred in his presence and, therefore, denies the

remaining allegations contained in this paragraph.

                                          COUNT IX
                         (Denial of Access to Courts – 42 U.S.C §1983)

Pursuant to the Court’s ruling on the motions to dismiss (Docket No. 116), this claim has

been dismissed so no answer is required. To the extent an answer is required to the

allegations, Defendant Byrne denies the allegations in these paragraphs directed at

Defendant Byrne, denies all wrongdoing as it relates to his conduct during the

Benjamin/Wash homicide investigation, and denies such conduct occurred in his presence

and, therefore, denies the remaining allegations contained in these paragraphs.

179.   Plaintiff re-alleges paragraphs one (1) through one-hundred-twelve (112) of this Complaint

as paragraph one-hundred-seventy-seven (177) of Count IX of this Complaint. [sic]

180.   In the manner described more fully herein, each of the Defendants, all while acting

individually, jointly, and in conspiracy, denied Plaintiff the right to access to courts by their

wrongful suppression of information and evidence which deprived Plaintiff of certain

constitutional claims against certain potential defendants.

181.   Other claims were diminished by the passage of years and the accompanying erosion of

evidence necessary to prove them.

182.   The misconduct described in this Count was undertaken with malice, willfulness, and

                                                83
 Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 84 of 96 PageID #:3195




reckless indifference to the rights of others.

183.   The misconduct described in this Count was undertaken pursuant to the policy and practice

of the Chicago Police Department in the manner described more fully in preceding paragraphs.

                                         COUNT X
                 (Monell Claim Against the City of Chicago – 42 U.S.C §1983)

184.   Plaintiff re-alleges paragraphs one (1) through one-hundred-twelve (112) of this Complaint

as paragraph one-hundred-eighty-two (182) of Count X of this Complaint. [sic]

ANSWER:        Defendant Byrne incorporates all answers to all paragraphs of this Complaint as

though fully set forth herein.

185.   As described more fully above beginning as early as the early 1980s, the City of Chicago

was expressly on notice that Burge and some of the officers under his command in Area 2 and

Area 3were torturing suspects during interrogations.

ANSWER:        Defendant Byrne denies all wrongdoing as it relates to his conduct during the

Benjamin/Wash homicide investigation as it relates to Plaintiff and Johnson or his conduct during

the Benjamin/Wash homicide investigation. For all remaining allegations contained in this

paragraph that are directed toward Defendant Byrne and go beyond Defendant Byrne's interaction

with Plaintiff and Johnson or his conduct during the Benjamin/Wash homicide investigation, upon

advice of counsel, Defendant Byrne invokes his rights guaranteed to him by the Fifth Amendment

of the United States Constitution. Defendant Byrne lacks knowledge or information sufficient to

form a belief as to the truth of the remaining allegations contained in this paragraph that are not

directed toward Defendant Byrne.

186.   As described more fully above throughout this time period, individual members of the

Chicago Police Department, including Superintendent Martin had knowledge of the ongoing

torture and abuse being used by Area 2 and Area 3 officers to extract coerced confessions.

                                                 84
 Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 85 of 96 PageID #:3196




ANSWER:        Defendant Byrne denies all wrongdoing as it relates to his conduct during the

Benjamin/Wash homicide investigation as it relates to Plaintiff and Johnson or his conduct during

the Benjamin/Wash homicide investigation. For all remaining allegations contained in this

paragraph that are directed toward Defendant Byrne and go beyond Defendant Byrne's interaction

with Plaintiff and Johnson or his conduct during the Benjamin/Wash homicide investigation, upon

advice of counsel, Defendant Byrne invokes his rights guaranteed to him by the Fifth Amendment

of the United States Constitution. Defendant Byrne lacks knowledge or information sufficient to

form a belief as to the truth of the remaining allegations contained in this paragraph that are not

directed toward Defendant Byrne.

187.   As described more fully above the pattern of ignoring and thereby facilitating the abuse

was so prevalent and widespread that it constituted the de facto policy and practice of the City of

Chicago and the Chicago Police Department. Policymaking officials of the City of Chicago and

the Chicago Police Department knew about it or should have, yet took no steps to remedy it such

that the failure to do so was deliberately indifferent.

ANSWER:        Defendant Byrne denies all wrongdoing as it relates to his conduct during the

Benjamin/Wash homicide investigation as it relates to Plaintiff and Johnson or his conduct during

the Benjamin/Wash homicide investigation. For all remaining allegations contained in this

paragraph that are directed toward Defendant Byrne and go beyond Defendant Byrne's interaction

with Plaintiff and Johnson or his conduct during the Benjamin/Wash homicide investigation, upon

advice of counsel, Defendant Byrne invokes his rights guaranteed to him by the Fifth Amendment

of the United States Constitution. Defendant Byrne lacks knowledge or information sufficient to

form a belief as to the truth of the remaining allegations contained in this paragraph that are not

directed toward Defendant Byrne.



                                                  85
 Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 86 of 96 PageID #:3197




188.   As described more fully above the lack of interest on the part of the City of Chicago and

the Chicago Police Department dates all the way back to the early 1980s.

ANSWER:        Defendant Byrne denies all wrongdoing as it relates to his conduct during the

Benjamin/Wash homicide investigation as it relates to Plaintiff and Johnson or his conduct during

the Benjamin/Wash homicide investigation. For all remaining allegations contained in this

paragraph that are directed toward Defendant Byrne and go beyond Defendant Byrne's interaction

with Plaintiff and Johnson or his conduct during the Benjamin/Wash homicide investigation, upon

advice of counsel, Defendant Byrne invokes his rights guaranteed to him by the Fifth Amendment

of the United States Constitution. Defendant Byrne lacks knowledge or information sufficient to

form a belief as to the truth of the remaining allegations contained in this paragraph that are not

directed toward Defendant Byrne.

189.   As described more fully above the acquiescence of the City of Chicago and the Chicago

Police Department continues through the present. Specifically, the City of Chicago spent and

spends millions of dollars to defend Burge and officers under his command and supervision at

Areas 2 and Area 3 against civil suits and administrative proceedings involving torture allegations

over a thirty (30) year period.

ANSWER:        Defendant Byrne denies all wrongdoing as it relates to his conduct during the

Benjamin/Wash homicide investigation as it relates to Plaintiff and Johnson or his conduct during

the Benjamin/Wash homicide investigation. For all remaining allegations contained in this

paragraph that are directed toward Defendant Byrne and go beyond Defendant Byrne's interaction

with Plaintiff and Johnson or his conduct during the Benjamin/Wash homicide investigation, upon

advice of counsel, Defendant Byrne invokes his rights guaranteed to him by the Fifth Amendment

of the United States Constitution. Defendant Byrne lacks knowledge or information sufficient to



                                                86
 Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 87 of 96 PageID #:3198




form a belief as to the truth of the remaining allegations contained in this paragraph that are not

directed toward Defendant Byrne.

190.   As described more fully above the City of Chicago continues to shield officers who were

under Burges command and supervision from prosecution, and defend them in civil suits

notwithstanding the crimes they committed against James Gibson. Other than Burge, none of the

police officers engaged in this torture and abuse have ever been prosecuted.

ANSWER:        Defendant Byrne denies all wrongdoing as it relates to his conduct during the

Benjamin/Wash homicide investigation as it relates to Plaintiff and Johnson or his conduct during

the Benjamin/Wash homicide investigation. For all remaining allegations contained in this

paragraph that are directed toward Defendant Byrne and go beyond Defendant Byrne's interaction

with Plaintiff and Johnson or his conduct during the Benjamin/Wash homicide investigation, upon

advice of counsel, Defendant Byrne invokes his rights guaranteed to him by the Fifth Amendment

of the United States Constitution. Defendant Byrne lacks knowledge or information sufficient to

form a belief as to the truth of the remaining allegations contained in this paragraph that are not

directed toward Defendant Byrne.

                                          COUNT XI
                                    (Malicious Prosecution)

191.   Plaintiff re-alleges paragraphs one (1) through one-hundred-twelve (112) of this Complaint

as paragraph one-hundred-eighty-nine (189) of Count XI of this Complaint. [sic]

ANSWER:        Defendant Byrne incorporates all answers to all paragraphs of this Complaint as

though fully set forth herein.

192.   As described more fully above plaintiff James Gibson was improperly subjected to judicial

proceedings for which there was no probable cause. These judicial proceedings were instituted and

continued maliciously, resulting in injury, and all such proceedings were terminated in Plaintiff's

                                                87
 Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 88 of 96 PageID #:3199




favor in a manner indicative of innocence.

ANSWER:        Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and denies such conduct occurred in his presence and, therefore, denies the

remaining allegations contained in this paragraph.

193.   As described more fully above the Defendant Officers identified above accused Plaintiff

of criminal activity knowing those accusations to be without probable cause, and they made

statements to prosecutors with the intent of exerting influence to institute and continue judicial

proceedings.

ANSWER:        Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and denies such conduct occurred in his presence and, therefore, denies the

remaining allegations contained in this paragraph.

194.   As described more fully above statements of the Defendant Officers regarding Plaintiff's

alleged culpability were made with knowledge that the statements were false and perjured. In so

doing, Defendant Officers fabricated evidence and withheld exculpatory information.

ANSWER:        Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and denies such conduct occurred in his presence and, therefore, denies the

remaining allegations contained in this paragraph.

195.   As described more fully above the misconduct described in this Count was undertaken with

malice, willfulness, and reckless indifference to the rights of others.

ANSWER:        Defendant Byrne denies the allegations in this paragraph directed at Defendant



                                                 88
 Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 89 of 96 PageID #:3200




Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and denies such conduct occurred in his presence and, therefore, denies the

remaining allegations contained in this paragraph.

196.   As described more fully above as a result of this misconduct, Plaintiff has suffered and

continues to suffer injuries including wrongful imprisonment and pain and suffering.

ANSWER:        Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and denies such conduct occurred in his presence and, therefore, denies the

remaining allegations contained in this paragraph.

                                          COUNT XII
                                       (Civil Conspiracy)

197.   Plaintiff re-alleges paragraphs one (1) through one-hundred-twelve (112) of this Complaint

as paragraph one-hundred-ninety-five (195) of Count XII of this Complaint. [sic]

ANSWER:        Defendant Byrne incorporates all answers to all paragraphs of this Complaint as

though fully set forth herein.

198.   As described more fully in the preceding paragraphs, Defendants, acting in concert with

other known and unknown co-conspirators, conspired by concerted action to accomplish an

unlawful purpose by an unlawful means.

ANSWER:        Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and denies such conduct occurred in his presence and, therefore, denies the

remaining allegations contained in this paragraph.

199.   As described more fully in the preceding paragraphs, in furtherance of the conspiracy,

Defendants committed overt acts and were otherwise willful participants in joint activity.

                                                89
 Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 90 of 96 PageID #:3201




ANSWER:        Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and denies such conduct occurred in his presence and, therefore, denies the

remaining allegations contained in this paragraph.

200.   As described more fully in the preceding paragraphs, the misconduct described in this

Count was undertaken with malice, willfulness, and reckless indifference to the rights of others.

ANSWER:        Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and denies such conduct occurred in his presence and, therefore, denies the

remaining allegations contained in this paragraph.

201.   As a proximate result of Defendants' conspiracy, Plaintiff suffered damages, including

wrongful imprisonment and severe emotional distress and anguish.

ANSWER:        Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and denies such conduct occurred in his presence and, therefore, denies the

remaining allegations contained in this paragraph.

                                          COUNT XIII
                          (Intentional Infliction of Emotional Distress)

202.   Plaintiff re-alleges paragraphs one (1) through one-hundred-twelve (112) of this Complaint

as paragraph two-hundred (200) of Count XIII of this Complaint. [sic]

ANSWER:        Defendant Byrne incorporates all answers to all paragraphs of this Complaint as

though fully set forth herein.

203.   The acts and conduct of the Defendant Officers as set forth above were extreme and

outrageous. The Defendants Officers intended to cause, or were in reckless disregard of the

                                                90
 Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 91 of 96 PageID #:3202




probability that their conduct would cause, severe emotional distress to Plaintiff.

ANSWER:        Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and denies such conduct occurred in his presence and, therefore, denies the

remaining allegations contained in this paragraph.

204.   Said actions and conduct did directly and proximately cause severe emotional distress to

Plaintiff and thereby constituted intentional infliction of emotional distress.

ANSWER:        Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and denies such conduct occurred in his presence and, therefore, denies the

remaining allegations contained in this paragraph.

205.   The misconduct described in this Count was undertaken with malice, willfulness, and

reckless indifference to the rights of others.

ANSWER:        Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and denies such conduct occurred in his presence and, therefore, denies the

remaining allegations contained in this paragraph.

206.   As a proximate result of Defendants' wrongful acts, Plaintiff suffered damages, including

severe emotional distress and anguish.

ANSWER:        Defendant Byrne denies the allegations in this paragraph directed at Defendant

Byrne, denies all wrongdoing as it relates to his conduct during the Benjamin/Wash homicide

investigation, and denies such conduct occurred in his presence and, therefore, denies the

remaining allegations contained in this paragraph.



                                                 91
 Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 92 of 96 PageID #:3203




                                         COUNT XIV
                                     (Respondeat Superior)

207.   Plaintiff re-alleges paragraphs one (1) through one-hundred-twelve (112) of this Complaint

as paragraph two-hundred-five (205) of Count XIII of this Complaint. [sic]

ANSWER:        Defendant Byrne incorporates all answers to all paragraphs of this Complaint as

though fully set forth herein.

208.   In committing the acts alleged in the preceding paragraphs, each of the Defendant Officers

were members of, and agents of, the City of Chicago, Chicago Police Department, acting at all

relevant times within the scope of employment and under color of law.

ANSWER:        Defendant Byrne admits that, during the relevant time, he acted within the scope of

his employment with the City of Chicago. Defendant Byrne denies the remaining allegations in

this paragraph directed at Defendant Byrne, denies all wrongdoing as it relates to his conduct

during the Benjamin/Wash homicide investigation, and denies such conduct occurred in his

presence and, therefore, denies the remaining allegations contained in this paragraph.

209.   Defendant City of Chicago is liable as principal for all torts committed by its agents.

ANSWER:        Defendant Byrne denies this is a full or accurate statement of the law and, as such,

denies the allegations contained in this paragraph.

                                           COUNT XV
                                        (Indemnification)

210.   Plaintiff re-alleges paragraphs one (1) through one-hundred-twelve (112) of this Complaint

as paragraph two-hundred-eight (208) of Count XV of this Complaint. [sic]

ANSWER:        Defendant Byrne incorporates all answers to all paragraphs of this Complaint as

though fully set forth herein.

211.   Illinois law provides that public entities are directed to pay any tort judgment for



                                                 92
  Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 93 of 96 PageID #:3204




compensatory damages for which employees are liable within the scope of their employment

activities.

ANSWER:        Defendant Byrne denies this is a full or accurate statement of the law and, as such,

denies the allegations contained in this paragraph.

212.    The Defendant Officers are or were employees of the Chicago Police Department, who

acted within the scope of their employment in committing the misconduct described herein.

ANSWER:        Defendant Byrne admits that he was an employee of the Chicago Police Department

and acted within the scope of his employment during the relevant time. Defendant Byrne denies

the remaining allegations in this paragraph directed at Defendant Byrne, denies all wrongdoing as

it relates to his conduct during the Benjamin/Wash homicide investigation, and denies such

conduct occurred in his presence and, therefore, denies the remaining allegations contained in this

paragraph.

                                  AFFIRMATIVE DEFENSES
1)      Defendant Byrne is not liable for the claims alleged under state law because a public

employee is not liable for his or her acts or omissions in the execution or enforcement of any law

unless such acts or omissions constitute willful and wanton conduct. 745 ILCS 10/2-202.

2)      Under the Illinois Tort Immunity Act, Defendant Byrne is not liable under state law for

any injury caused by the act or omission of another person. 745 ILCS 10/2-204.

3)      Plaintiff’s claims in the operating complaint are barred by the applicable statutes of

limitations.

4)      Plaintiff’s claims in the operating complaint are barred by the doctrines of res judicata

and collateral estoppel.

5)      To the extent Plaintiff is asserting a federal malicious prosecution claim, such claim fails

as a matter of law. Manuel v. City of Joliet, Illinois, 903 F.3d 667, 670 (7th Cir. 2018); see also

                                                 93
 Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 94 of 96 PageID #:3205




Manuel v. City of Joliet, 137 S. Ct. 911, 918-19 (2017).

6)     To the extent Plaintiff is asserting a due process fabrication of evidence claim based on

allegedly fabricated evidence that was not admitted at trial, such claim fails as a matter of law.

See Avery v. City of Milwaukee, 847 F.3d 433, 442 (7th Cir. 2017).

7)     At all times material to the events alleged in Plaintiff’s Complaint, reasonably competent

police officers, objectively viewing the facts and circumstances then confronting them, would have

believed that the actions taken were objectively reasonable and were within clearly established

constitutional limits. Defendant Byrne, therefore, is entitled to qualified immunity.

8)     To the extent any injuries or damages claimed by Plaintiff were proximately caused, in

whole or in part, by negligent, willful, wanton and/or other wrongful conduct on the part of

Plaintiff as reflected in the public record, including but not limited to police reports and/or the

criminal trial transcript, any verdict or judgment obtained by Plaintiff must be reduced by an

amount commensurate with the degree of fault attributed to Plaintiff by the jury in this case.

9)     To the extent Plaintiff failed to mitigate any of his claimed injuries or damages, any

verdict or judgment obtained by Plaintiff must be reduced by application of the principle a

Plaintiff has a duty to mitigate his or her damages.

10)    Plaintiff’s operating complaint fails to state claims upon which relief may be granted and

should be dismissed with prejudice.

11)    Under the Illinois Tort Immunity Act, a public employee is not liable for injury caused by

his instituting or prosecuting any judicial or administrative proceeding within the scope of his

employment, unless he acts maliciously and without probable cause. 745 ILCS 10/2-208.

12)    City of Chicago police employees are absolutely immune for any testimony they may

have given in Plaintiff’s underlying criminal case. See Briscoe v. LaHue, 460 U.S. 325 (1983).



                                                 94
 Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 95 of 96 PageID #:3206




                                      JURY DEMAND

Defendant Byrne demands a trial by jury.



                                                Respectfully submitted,
                                                /s/ Shawn W. Barnett
                                                Attorney No. 6312312

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                                           95
 Case: 1:19-cv-04152 Document #: 220 Filed: 11/15/21 Page 96 of 96 PageID #:3207




                                CERTIFICATE OF SERVICE

I, the undersigned attorney, certify that I filed the foregoing document with the Clerk of the
Northern District of Illinois using the Court’s electronic filing system. As a result, copies of the
filed document were electronically served upon all counsel of record.
A courtesy copy of the filed document may have been provided to the Court, depending upon the
Court’s standing order.

                                                     /s/ Shawn W. Barnett




                                                96
